Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 1 of 46



                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          WEST PALM BEACH DIVISION

                   Case No. 9:17-CV-80495- MARRA-MATTHEWMAN


  CONSUMER FINANCIAL PROTECTION BUREAU
      Plaintiff,

  vs.

  OCWEN FINANCIAL CORPORATION,
  OCWEN MORTGAGE SERVICING, INC., and
  OCWEN LOAN SERVICING, LLC,
      Defendants.

  _________________________________________/


                 Plaintiff’s Opposition to Defendants’ Motion to Dismiss
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 2 of 46



                                                     TABLE OF CONTENTS

  INTRODUCTION .......................................................................................................................... 1
  ARGUMENT .................................................................................................................................. 2
  I.      The Bureau has authority to bring this action. ....................................................................... 2
          A.      The Bureau’s structure is constitutional. ...................................................................... 2
                  1.      For-cause removal is constitutional because it does not impede the President’s
                          ability to perform his constitutional duty.. ........................................................... 3
                  2.      The Bureau’s single-director structure does not make it more difficult for the
                          President to oversee the agency. .......................................................................... 6
                  3.      The Bureau’s funding is not unconstitutional... ................................................... 8
                  4.      None of Defendants’ arguments justifies dismissal of the Complaint. ................ 8
          B.      Defendants had fair notice that their conduct violates the CFPA and FDCPA. ........... 9
                  1.      Defendants had fair notice that servicing loans using inaccurate or incomplete
                          information is unfair. ........................................................................................... 9
                  2.      Defendants had fair notice that they must have a reasonable basis for their
                          representations to borrowers. ............................................................................. 11
          C.      The CFPA authorizes the Bureau to bring unfairness actions. ................................... 13
          D.      The 2013 Consent Judgment does not preclude any claims. ...................................... 14
                  1.      The express terms of the 2013 Consent Judgment do not release future claims
                          against Defendants. ............................................................................................ 15
                  2.      Res judicata does not apply to the Bureau’s claims. ......................................... 16
  II.     The Complaint states claims for relief. ................................................................................ 18
          A.      The Bureau adequately alleges that Defendants have engaged in unfair acts or
                  practices (Counts I, VIII). ........................................................................................... 19
          B.      The Bureau adequately alleges that Defendants have engaged in deceptive acts and
                  practices (Counts II and IX). ....................................................................................... 22
                  1.      Rule 9(b) does not apply to the Bureau’s deception claims............................... 22
                  2.      The Bureau adequately alleges its deception claims.......................................... 23
          C.      The Bureau adequately alleges that Defendants’ foreclosure practices violate the
                  CFPA and Regulation X (Counts III, IV, and XIII). .................................................. 25
          D.      The Bureau adequately alleges that Defendants’ notice of error practices violate
                  Regulation X (Count XI). ........................................................................................... 27


                                                                        i
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 3 of 46



          E.      The Bureau adequately alleges that Defendants have engaged in unfair conduct
                  related to add-on products (Count V). ........................................................................ 28
          F.      The Bureau adequately alleges that each defendant is liable for each count. ............. 29
          G.      The Bureau adequately alleges that each defendant is liable for violations of RESPA
                  (Counts X-XIII) and the FDCPA (Counts VIII and IX). ............................................ 31
  III. The Bureau’s claims are not time barred. ............................................................................ 32
  CONCLUSION ............................................................................................................................. 35




                                                                      ii
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 4 of 46



                                              TABLE OF AUTHORITIES

  Cases

  Affiliated Hosp. Prods, Inc. v. Merdel Game Mfg., 513 F.2d 1183 (2d Cir. 1975) .......................17

  Alaska Airlines, Inc. v. Brock, 480 U.S. 678 (1987) ........................................................................8

  Am. Fed’n of Gov’t Emps., AFL-CIO v. FLRA, 388 F.3d 405 (3d Cir. 2004) .................................8

  Anderson v. Dist. Bd of Trust. of Central Fl. Commty. Coll., 77 F.3d 364 (11th Cir. 1996).........19

  Ashcroft v. Iqbal, 556 U.S. 662 (2009) ..........................................................................................18

  Barber v. Kimbrell’s, Inc., 577 F.2d 216 (4th Cir. 1978) ..............................................................35

  Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) ...................................................................18

  Bennett v. Nationstar, No. 15-00165-KD-C, 2015 WL 5294321 (S.D. Ala. Sept. 8, 2015) .........32

  Bernstein v. Wells Fargo, No. 1:15-CV-2520, 2016 WL 4546653 (N.D. Ga. May 13, 2016)......32

  Bowen v. Public Agencies Opposed to Social Sec. Entrapment, 477 U.S. 41 (1986) ...................16

  BP Am. Prod. Co. v. Burton, 549 U.S. 84 (2006) ..........................................................................33

  Christopher v. SmithKline Beecham Corp., 567 U.S. 142 (2012) .................................................14

  CFPB v. D&D Mktg., No. 15-9692, 2016 WL 8849698 (C.D. Cal. Nov. 17, 2016)...........9, 13, 14

  CFPB v. Frederick J. Hanna & Assocs., 114 F. Supp. 3d 1342 (N.D. Ga. 2015) .......18, 22, 23, 33

  CFPB v. Gordon, 819 F.3d 1179 (9th Cir. 2016) ..............................................................14, 22, 23

  CFPB v. Howard, No. 8:17-cv-00161 (C.D. Cal. May 26, 2017) ...........................................22, 33

  CFPB v. ITT Educ. Servs, Inc., 219 F. Supp. 3d 878 (S.D. Ind. 2015) ...............................9, 14, 35

  CFPB v. Morgan Drexen, Inc., 60 F. Supp. 3d 1082 (C.D. Cal. 2014) ...........................................7

  CFPB v. NDG Fin. Corp., No. 15-cv-5211, 2016 WL 7188792 (S.D.NY. Dec. 2, 2016) ............30

  Couzens v. Donohue, 854 F.3d 508 (8th Cir. 2017) ......................................................................34

  Erickson v. Pardus, 551 U.S. 89 (2007) ........................................................................................18

  Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477 (2010)..................2, 3, 5, 8

  FTC v. AMG Services, Inc., 29 F. Supp. 3d 1338 (D. Nev. 2014) .................................................24

                                                                  iii
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 5 of 46



  FTC v. CompuCredit Corp., No. 1:08-CV-1976-MMB-RGV, 2008 WL 8762850 (N.D. Ga.
   2008) ...........................................................................................................................................34

  FTC v. Fed. Check Processing, Ind., No. 14-CV-122S, 2016 WL 5940485 (W.D.NY Oct. 13,
   2016) ...........................................................................................................................................30

  FTC v. Freecom Commc’ns, Inc., 401 F.3d 1192 (10th Cir. 2005) .........................................22, 23

  FTC v. IAB Mktg. Associates, LP, 764 F.3d 1228 (11th Cir. 2009) ..............................................30

  FTC v. Innovative Mktg., 654 F. Supp. 2d 378 (D. Md. 2009) ......................................................30

  FTC v. Nat'l Urological Grp., Inc., 645 F. Supp. 2d 1167 (N.D. Ga. 2008) .................................29

  FTC v. Pantron I Corp., 33 F.3d 1088 (9th Cir. 1994)............................................................12, 22

  FTC v. Stefanchik, 559 F.3d 924 (9th Cir. 2009) .....................................................................29, 30

  FTC v. Sterling Precious Metals, LLC, No.12-80597, 2013 WL 595713 (S.D. Fla. Feb. 15,
   2013) ...............................................................................................................................22, 23, 30

  FTC v. Transnet Wireless Corp., 506 F. Supp. 2d 1247 (S.D. Fla. 2007) .....................................24

  FTC v. Wyndham Worldwide Corp., 799 F. 3d 236 (3d Cir. 2015) ...............................9, 10, 14, 26

  FTC v. Wyndham Worldwide Corp., 10 F. Supp. 3d 602 (D. N.J. 2014) ................................13, 14

  Ga. Pac. Corp. v. OSHRC, 25 F.3d 999 (11th Cir. 1994) .............................................................10

  Gates v. Towery, 456 F. Supp. 2d 953 (N.D. Ill. 2006) .................................................................17

  Hill v. White, 321 F.3d 1334 (11th Cir. 2003) ...............................................................................18

  Humphrey’s Ex’r v. U.S., 295 U.S. 602 (1935) ...............................................................2, 3, 4, 5, 6

  Illinois v. Alta Colls., Inc., No. 14-C-3786, 2014 WL 4377579 (N.D. Ill. Sept. 4, 2014) .........9, 14

  In re Methyl Tertiary Butyl (“MTBE”) Prod. Liab. Litig., No. M21-88, 2015 WL 5051660
    (S.D.N.Y. Aug. 26, 2015) ...........................................................................................................17

  Jackson v. Genesys Credit Management, No. 06-61500-CIV, 2007 WL 4181024 (S.D. Fla. Nov.
    21, 2007) .....................................................................................................................................23

  Jackson v. Seaboard Coast Line R.R. Co., 678 F. 2d 992 (11th Cir. 1982) ..................................26

  Jeter v. Credit Bureau, Inc., 760 F.2d 1168 (11th Cir. 1985)........................................................22

  Kaplan v. Lappin, No. 10-80227, 2010 WL 2889219 (S.D. Fla. July 20, 2010)...........................18

                                                                          iv
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 6 of 46



  Khan v. OneWest Bank, No. 16-8074, 2017 WL 1344535 (N.D. Ill. April 12, 2017)...................13

  Knight v. E.F. Hutton & Co., Inc., 750 F. Supp. 1109 (M.D. Fla. 1990) ......................................34

  La Grasta v. First Union Sec., Inc., 358 F.3d 840 (11th Cir. 2004) ........................................27, 32

  Lage v. Ocwen, 839 F.3d 1003 (11th Cir. 2016)............................................................................27

  LeBlanc v. Unifund CCR Partners, 601 F.3d 1185 (11th Cir. 2010) ............................................23

  Manning v. City of Auburn, 953 F.2d 1355, 1360 (11th Cir.1992) ...............................................16

  Mason v. Colse, Scott & Kissane, No. 07-80103-Civ, 2008 WL 2051359 (S.D. Fla. May 13,
   2008) ...............................................................................................................................18, 28, 32

  McCarley v. KPMG Intern., 293 Fed. Appx 719 (11th Cir. 2008) ................................................32

  Merrion v. Jicarilla Apache Tribe, 455 U.S. 130 (1982) ..............................................................16

  Meyer v. Holley, 537 U.S. 280 (2003) ...........................................................................................30

  Mistretta v. United States, 488 U.S. 361 (1989) ..............................................................................7

  Morrison v. Olson, 487 U.S. 654 (1988) .............................................................................2, 3, 5, 7

  Muzuco v. Re$ubmitit, LLC, No. 11-62628-Civ, 2012 WL 3242013 (S.D. Fla. Aug. 7, 2012) ....30

  Myers v. United States, 272 U.S. 52 (1926).....................................................................................3

  National Petroleum Refiners Ass’n v. FTC, 482 F.2d 672 (D.C. Cir. 1973) ...................................4

  Neild v. Wolpoff & Abramson, LLP, 453 F. Supp. 2d 918 (E.D. Va. 2006) ..................................22

  NLRB v. Bell Aerospace Co. Div. of Textron, Inc., 416 U.S. 267 (1974) ......................................14

  Norfolk S. Corp. v. Chevron, USA, 371 F.3d 1285 (11th Cir. 2004) .............................................18

  Omar v. Lindsay, 334 F.3d 1246 (11th Cir. 2003) ...................................................................32, 34

  Persaud v. Bank of America, N.A., No. 14-21819-CIV, 2014 WL 4260853 (S.D. Fla. Aug. 28,
   2014) ...........................................................................................................................................33

  PHH Corp. v. CFPB, 839 F.3d 1 (D.C. Cir. 2016) ......................................................................7, 8

  Pollice v. Natl. Tax Funding, L.P., 225 F.3d 379 (3d Cir. 2000) ..................................................30

  Posely v. Eckerd Corp., 433 F. Supp. 2d 1287 (S.D. Fla. 2006) ...................................................10

  Prophet v. Myers, 645 F. Supp. 2d 614 (S.D. Tex. 2008) .............................................................22

                                                                           v
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 7 of 46



  Rachback v. Cogswell, 547 F.2d 502 (10th Cir. 1976) ..................................................................26

  Reynolds v. Roberts, 202 F.3d 1303 (11th Cir. 2000)....................................................................15

  Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678 (11th Cir. 2011) .................................18

  Rouleau v. US Bank, N.A., No. 14-cv-568-JL, 2015 WL 1757104 (D.N.H. Apr. 17, 2015) ........30

  Smith v. Goguen, 415 U.S. 566 (1974) ..........................................................................................10

  Swan v. Clinton, 100 F.3d 973 (D.C. Cir. 1996)..............................................................................6

  Tallahassee Mem’l Reg. Med. Ctr. v. Bowen, 815 F.2d 1435 (11th Cir. 1987).........................9, 10

  Trionfo v. Bank of Am., No. JFM-15-925, 2015 WL 5165415 (D. Md. Sept. 2, 2015) .................27

  United States v. Batchelder, 442 U.S. 114, 125 (1979) .................................................................26

  United States v. Cherokee Nation of Okla., 480 U.S. 700 (1987) .................................................16

  United States ex rel. Air Control Techs. Inc. v. Pre Con Indus., Inc., 720 F.3d 1174 (9th Cir.
   2013) ...........................................................................................................................................33

  U.S. Bank Nat. Ass’n v. Capparelli, No. 13-80323-CIV, 2014 WL 2807648 (S.D. Fla. June 20,
   2014) ...........................................................................................................................................30

  Vallies v. Sky Bank, 591 F.3d 152 (3d Cir. 2009) ..........................................................................35

  Van Cleef & Arples Logistics, S.A. v. Festival Marketplace, No.07-61837, 2008 WL 4753690
   (S.D. Fla. Oct. 29, 2008) .............................................................................................................30

  Weiland v. Palm Beach County Sheriff’s Office, 792 F.3d 1313 (11th Cir. 2015) ........................19

  Wentzell v. Chase, 627 F. App’x 314 (5th Cir. 2015) ....................................................................27

  Wigod v. Wells Fargo Bank, NA, 673 F.3d 547 (7th Cir. 2012) ....................................................13

  World’s Finest Choc. Inc. v. World Candies, Inc., 409 F. Supp. 840 (N.D. Ill. 1976) ..................17

  Your Baby Can, LLC v. Planet Kids, Inc., No. 10-81266, 2011 WL 197421 (S.D. Fla. Jan. 20,
   2011) .................................................................................................................................9, 10, 19

  Statutes

  12 U.S.C. § 1818 ............................................................................................................................34

  12 U.S.C. § 2605 ............................................................................................................................31

  12 U.S.C. § 5302 ..............................................................................................................................8
                                                                          vi
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 8 of 46



  12 U.S.C. § 5481 ........................................................................................................................4, 29

  12 U.S.C. § 5491 ......................................................................................................................2, 3, 6

  12 U.S.C. § 5492 ..............................................................................................................................5

  12 U.S.C. § 5497 ..............................................................................................................................8

  12 U.S.C. § 5511 ..............................................................................................................................4

  12 U.S.C. § 5512 ..............................................................................................................................5

  12 U.S.C. § 5531 ............................................................................................................4, 13, 14, 19

  12 U.S.C. § 5536 ..............................................................................................................................4

  12 U.S.C. § 5563 ..........................................................................................................................4, 6

  12 U.S.C. § 5564 ..................................................................................................................4, 13, 33

  12 U.S.C. § 5565 ............................................................................................................................13

  15 U.S.C. § 41 ..............................................................................................................................3, 6

  15 U.S.C. § 42 ..................................................................................................................................5

  15 U.S.C. § 45 ........................................................................................................................3, 4, 14

  15 U.S.C. § 46 ..............................................................................................................................3, 4

  15 U.S.C. § 57 ..................................................................................................................................4

  15 U.S.C. § 78 ..................................................................................................................................4

  15 U.S.C. § 640 ..............................................................................................................................35

  15 U.S.C. § 1607 ............................................................................................................................35

  15 U.S.C. § 1692 ................................................................................................................19, 31, 34

  15 U.S.C. § 6501 ..............................................................................................................................5

  15 U.S.C. § 6502 ..............................................................................................................................5

  28 U.S.C. § 2462 ............................................................................................................................35

  47 U.S.C. § 154 ................................................................................................................................5




                                                                         vii
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 9 of 46



  Rules & Regulations

  12 C.F.R. § 1024 ................................................................................................................27, 31, 37

  12 C.F.R. § 1081 ..............................................................................................................................6

  Fed. R. Civ. Proc. 8 ........................................................................................................................18

  S.D. Fla. L.R. 7 ..............................................................................................................................10

  Other Authorities

  Appropriations Clause, U.S. Const. art. I, § 8, cl. 1.........................................................................8

  CFPB Supervision and Examination Manual at UDAAP 5, <http://files.consumerfinance.gov/f/
   201210_cfpb_supervision-and-examination-manual-v2.pdf> ....................................................23

  Complaint, CFPB v. Green Tree Servicing, No. 15-2064 (D. Minn. Apr. 15, 2015) ....................10

  Complaint, Stipulated Final Judgment & Order, FTC v. EMC Mortg. Corp., Case No. 4:08-CV-
   338 (E.D. Tex. Sept. 8, 2008) ...............................................................................................10, 12

  Consent Judgment, CFPB v. Ocwen Fin. Corp., No. 13-cv-2025 (D.C. Cir. 2013)................15, 16

  Consent Order, In the Matter of Encore Capital Grp., CFPB No. 2015-CFPB-0022 (Sept. 9,
   2015) ...........................................................................................................................................11

  Consent Order, In the Matter of Portfolio Recovery Ass’n., CFPB No. 2015-CFPB-0023 (Sept. 9,
   2015) ...........................................................................................................................................11

  Consent Order, FTC v. Asset Acceptance, LLC, No. 8:12-CV-182 (M.D. Fla. Jan. 30, 2012) .....10

  FTC Statutes, <https://www.ftc.gov/enforcement/statutes?title=&> ..............................................4

  Marshall J. Breger & Gary J. Edles, Established by Practice: The Theory and Operation of
   Independent Federal Agencies, 52 ADMIN. L. REV. 1111 (2000) .............................................6

  Mortgage Servicing Transfer Bulletin, CFPB Bulletin 2013-01 (February 11, 2013),
   <http://files.consumerfinance.gov/f/201302_cfpb_bulletin-on-servicing-transfers.pdf>...........11

  Office of the Comptroller of the Currency Interpretive Letter, October 6, 1977, 1977 WL
   23261...........................................................................................................................................35

  Prohibition of Unfair, Deceptive, or Abusive Acts or Practices in the Collection of Consumer
    Debts, CFPB Bulletin 2013-07 (July 10, 2013), <http://files.consumerfinance.gov/f/201307_
    cfpb_bulletin_unfair-deceptive-abusive-practices.pdf> .............................................................12



                                                                         viii
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 10 of 46



          Plaintiff, the Consumer Financial Protection Bureau (“Bureau”), respectfully submits this
   opposition to the motion of Ocwen Financial Corporation, Ocwen Loan Servicing, LLC, and
   Ocwen Mortgage Corp. (collectively, “Ocwen” or “Defendants”) to dismiss the Complaint, or
   alternatively, for a more definite statement.
                                           INTRODUCTION

          What is most striking about Defendants’ motion to dismiss is the recurring theme that
   they are not accountable for their conduct under federal law. They raise a number of arguments
   as to why the court must dismiss this action, but none withstands scrutiny. First, the Bureau’s
   structure does not suffer from any constitutional infirmity. Second, Defendants had fair notice
   that their use of inaccurate and incomplete information, which caused harm to borrowers, could
   be considered unfair under the Consumer Financial Protection Act (“CFPA”). Rather than
   dispute this, Defendants mischaracterize the Bureau’s unfairness claims and spend pages
   attacking this strawman. Third, there is nothing in the text of the CFPA, nor any other legal
   authority, that requires the Bureau to engage in a rulemaking or adjudication before bringing this
   action. Fourth, nothing in the 2013 Consent Judgment grants Defendants a blank check to violate
   federal law for the next three years. To the contrary, the actual terms in the Consent Judgment
   provide that the Bureau only released claims against Defendants for mortgage servicing practices
   that had taken place as of December 18, 2013, and expressly reserved the Bureau’s authority
   over Defendants’ future conduct.
          Defendants also need not guess at the Bureau’s claims—the Complaint comprehensively
   sets forth the allegations supporting the Bureau’s claims. The Complaint begins with
   introductory allegations, including that Defendants are servicers and debt collectors and are
   jointly liable under common enterprise and principal-agent relationships. Section II contains
   allegations describing the three main causes of Defendants’ inaccurate and incomplete
   information, the types of inaccurate and incomplete information that Defendants have used to
   service mortgages and collect upon debts, and the types of resulting harm to borrowers. Section
   III is organized into eight subsections, each of which contains detailed allegations of Defendants’
   servicing failures, including their use of inaccurate and incomplete information to service
   borrowers’ loans, and how these failures have caused harm to borrowers. The Bureau references
   these allegations in each Count. They easily satisfy Rule 8(a)’s plausibility standard.



                                                    1
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 11 of 46



          Defendants’ arguments not only fail, they perfectly illustrate the reason why the Bureau
   was forced to file this action: Defendants would rather deflect and make excuses than
   acknowledge and correct their conduct. The Bureau cannot stand by and allow Defendants to
   continue to fail in performing the basic, fundamental functions of a mortgage servicer, such as
   properly accounting for borrowers’ payments, managing escrow accounts, and disbursing
   insurance payments. As exemplified by the consumer narratives in the Bureau’s Complaint,
   Defendants’ failures in these and other areas have caused and continue to cause substantial harm
   to borrowers. As discussed further below, the Court should reject Defendants’ most recent effort
   to evade accountability and deny their motion in its entirety.
                                              ARGUMENT

   I.     The Bureau has authority to bring this action.
          A.      The Bureau’s structure is constitutional.
          When Congress created the Bureau, it imposed a limited restriction on the President’s
   ability to remove the Bureau’s Director: the President may remove the Director only for cause–
   “inefficiency, neglect of duty, or malfeasance in office.”1 The Supreme Court has upheld this
   kind of “limited restriction[] on the President’s removal power.”2 Nevertheless, Defendants ask
   this Court to break new ground and declare that, contrary to more than eighty years of precedent,
   Congress transgressed the separation of powers when it gave the Bureau’s Director the same for-
   cause removal protection that the Supreme Court approved for FTC commissioners in
   Humphrey’s Executor. Defendants’ arguments overlook a crucial Supreme Court decision,
   Morrison v. Olson, 487 U.S. 654 (1988), which explains why a for-cause removal provision does
   not interfere with the President’s obligation under Article II of the Constitution to “take care that
   the laws be faithfully executed.” Nor is the Bureau unconstitutional merely because it, like most
   other financial regulatory agencies, is funded outside the annual appropriations process. And
   finally, even if this Court were to conclude that the Bureau’s structure is unconstitutionally
   flawed, this Court should remedy that problem, not dismiss this case.




   1
    12 U.S.C. § 5491(c)(3).
   2
    Free Enter. Fund v. Pub. Co. Accounting Oversight Bd., 561 U.S. 477, 495 (2010) (referring to
   Humphrey’s Ex’r v. United States, 295 U.S. 602, 632 (1935)).
                                                     2
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 12 of 46



                  1.      For-cause removal is constitutional because it does not impede the
                          President’s ability to perform his constitutional duty.
          Congress may restrict the President’s power to remove an official so long as it does not
   “impede the President’s ability to perform his constitutional duty” to faithfully execute the laws.3
   Congress does not impede this ability when it establishes for-cause removal protection for the
   head of an agency with functions like the Bureau’s. In Humphrey’s Executor, the Supreme Court
   approved for-cause removal protection for FTC commissioners that is identical to that afforded
   the Bureau’s Director.4 As Morrison later explained, Humphrey’s Executor reflected the Court’s
   “judgment” that, in light of the FTC’s functions, “it was not essential to the President’s proper
   execution of his Article II powers that [the agency] be headed up by individuals who were
   removable at will.”5 This is because the ability to remove an official for cause gives the President
   “ample authority to assure that the [official] is competently performing his or her statutory
   responsibilities.”6 Here too, the Bureau’s Director is not “unanswerable to the President,”7
   because the removal restrictions and official functions established by the CFPA are not
   materially different from those established by the Federal Trade Commission Act (“FTC Act”).8
          First, the for-cause removal provision that applies to the Bureau’s Director is identical to
   the for-cause removal provision in the FTC Act that applies to FTC commissioners.9 Second, the
   Bureau’s functions are remarkably similar to those of the FTC when Humphrey’s Executor was
   decided. At that time, the FTC had the power to prohibit “unfair methods of competition in
   commerce” by “persons, partnerships, or corporations, except banks and [certain common
   3
     Morrison v. Olson, 487 U.S. 654, 691 (1988).
   4
     Humphrey’s Ex’r, 295 U.S. at 620-21, 632.
   5
     Morrison, 487 U.S. at 691.
   6
     Id. at 692.
   7
     Defs. Mot. to Dismiss and Incorp. Mem. of Law (“Mot.”) (Doc. 31) at 7.
   8
     Citing Myers v. United States, 272 U.S. 52, 134 (1926), Defendants contend that the President
   must have the authority to remove all executive officials “without delay.” Mot. at 7. If
   Defendants mean that Myers holds that the President’s removal authority is without limit, this
   “holding” was a dictum and “disapproved” in Humphrey’s Executor, 295 U.S. at 626.
   Defendants also cite Free Enterprise, and contend it requires that the President have “full
   control” over those who exercise executive power. Mot. at 9. But what the Court actually held
   was that the President did not have full control over members of the Oversight Board because he
   was separated from them by two layers of for-cause removal. Free Enter. Fund, 561 U.S. at 496.
   It remedied that problem by severing one layer.
   9
     Compare 15 U.S.C. § 41 (1934) (“Any Commissioner may be removed by the President for
   inefficiency, neglect of duty, or malfeasance in office.”), with 12 U.S.C. § 5491(c)(3) (“The
   President may remove the Director for inefficiency, neglect of duty, or malfeasance in office”).
                                                    3
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 13 of 46



   carriers].”10 To carry out that power, the FTC had “wide powers of investigation”11 into the
   practices of any corporation engaged in commerce.12 If the FTC believed that a person was
   engaged in an unfair method of competition, it could bring an administrative cease-and-desist
   proceeding and enforce any resulting order in court.13 The FTC could also gather information
   regarding corporate practices and report that information to Congress.14 The FTC exercised its
   broad authority over virtually the entire economy.15
          The Bureau performs similar functions relating to the entities over which it exercises
   authority. The Bureau enforces the “Federal consumer financial laws,”16 and, like the FTC, may
   prohibit “unfair” (as well as deceptive and abusive) acts or practices–but only against “covered
   persons” or “service providers” who engage in those practices in connection with consumer
   financial products or services.17 The Bureau may initiate administrative proceedings or actions in
   court to enforce the laws within its authority.18 And it may collect and publish information
   relevant to markets for consumer financial products and services; conduct financial education
   programs; collect consumer complaints; and issue rules to implement consumer financial laws.19
          Defendants mistakenly contend that the scope of the Bureau’s authority is somehow
   unique because it enforces 19 consumer financial laws.20 But they fail to note that the FTC
   enforces or administers 71 different laws, including many of the same laws that the Bureau
   enforces.21 Defendants complain that the Bureau can engage in rulemaking.22 But so can the FTC
   and many other independent regulatory agencies.23 Defendants also note that the Bureau can

   10
      15 U.S.C. § 45 (1934).
   11
      Humphrey’s Ex’r, 295 U.S. at 621.
   12
      15 U.S.C. § 46(a) (1934).
   13
      Id. at § 45.
   14
      Id. at § 46(f).
   15
      See id. at § 45.
   16
      12 U.S.C. §§ 5481(14), 5511.
   17
      Id. §§ 5531(a), 5536(a).
   18
      Id. §§ 5563, 5564.
   19
      Id. § 5511(c).
   20
      See Mot. at 5-6.
   21
      Compare 12 U.S.C. § 5481 (12) (listing the enumerated consumer laws enforced by the
   Bureau), with https://www.ftc.gov/enforcement/statutes?title=& (listing the laws enforced or
   administered by the FTC) (last visited July 20, 2017).
   22
      Mot. at 5.
   23
      See, e.g., 15 U.S.C. §§ 46(g), 57a (authorizing FTC to engage in rulemaking); 15 U.S.C. § 78w
   (same for the Securities and Exchange Commission). Although Defendants focus on rulemaking,
                                                   4
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 14 of 46



   conduct investigations and bring enforcement actions. In Morrison, the Court recognized that
   rulemaking and recovery of civil penalties are entirely appropriate functions for independent
   agencies.24 And in Free Enterprise, the Court held that the Oversight Board—even with its
   authority to issue rules and seek penalties as “the regulator of first resort and the primary law
   enforcement authority for a vital sector of our economy”—did not violate the separation of
   powers so long as the Board was separated from the President “by only a single level of good-
   cause tenure.”25 Although the Court in Humphrey’s Executor referred to the FTC’s duties as
   quasi-legislative and quasi-judicial, the Court in Morrison recognized that “the powers of the
   FTC at the time of Humphrey’s Executor would at the present time be considered ‘executive,’ at
   least to some degree.”26
          Defendants contend that other features of the Bureau are “extraordinary,” but all are
   features common to most independent agencies, particularly the FTC.27 In particular, Defendants
   find it significant that, if a statute gives both the Bureau and another agency rulemaking
   authority, then only the Bureau may exercise that authority.28 But most statutes authorize only
   one agency to issue implementing rules.29 And although Defendants complain that the President
   is excluded from the Bureau’s rulemaking process,30 they do not provide any example of any rule
   issued by an independent agency in which the President somehow participated.
          It is also hardly extraordinary that the Director may hire, and delegate tasks to, Bureau
   employees.31 This is a routine authority for agency heads.32 And Defendants are simply wrong
   when they contend that the Bureau’s Director can rule on appeals of administrative proceedings

   in National Petroleum Refiners Ass’n v. FTC, 482 F.2d 672, 685 (D.C. Cir. 1973), the court
   observed that, based solely on its power to engage in administrative adjudication, the FTC could
   “exert[] a powerfully regulatory effect on those business practices subject to its supervision.”
   24
      Morrison, 487 U.S. at 692, n.31.
   25
      Free Enter. Fund, 561 U.S. at 508-09.
   26
      Morrison, 487 U.S. at 689, n. 27.
   27
      See Mot. at 5-6.
   28
      12 U.S.C. § 5512(b)(4)(A); see Mot. at 5-6.
   29
      See, e.g., Children’s Online Privacy Protection Act, 15 U.S.C. §§ 6501 et seq. (only the FTC
   issues implementing rules, id. at § 6502(b)).
   30
      See Mot. at 5.
   31
      See Mot. at 6 (citing 12 U.S.C. § 5492(b)).
   32
      See, e.g., 15 U.S.C. § 42 (authorizing the FTC to hire “attorneys, special experts, examiners,
   clerks, and other employees as it may from time to time find necessary”); 47 U.S.C. § 154(f)(1)
   (authorizing the FCC “to appoint such officers, engineers, accountants, attorneys, inspectors,
   examiners, and other employees as are necessary in the exercise of its functions”).
                                                     5
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 15 of 46



   without any oversight,33 since any party to an administrative proceeding may seek review in a
   court of appeals of any order issued by the Bureau’s Director.34 Finally, Defendants complain
   that, “[u]nlike other officials, high and low, each of whom serves at the pleasure of the
   nationally-elected President, the President may terminate the Director only ‘for inefficiency,
   neglect of duty, or malfeasance [in] office.’”35 In fact, there are more than a dozen other agencies
   that perform executive functions and are headed by officials who may be removed only for
   inefficiency, neglect of duty, or malfeasance in office.36
                  2.      The Bureau’s single-director structure does not make it more difficult
                          for the President to oversee the agency.
          The for-cause removal provision in the CFPA is not unconstitutional merely because the
   Bureau is headed by a single Director instead of a multi-member commission. Defendants note
   that, in Humphrey’s Executor, the Court mentioned that FTC Commissioners serve staggered
   terms.37 But the Court made that observation and discussed the structure of the FTC only in that
   portion of its decision in which it addressed whether the removal provision of the FTC Act was
   intended “to limit the executive power of removal to the causes enumerated[.]”38 The Court
   never mentioned the FTC’s multi-member structure when it assessed the constitutionality of the
   for-cause removal provision, nor did it even suggest that structure mattered.39 If, at the time of
   Humphrey’s Executor, or subsequently, the Court believed that the number of officials who lead
   an agency made a difference to the constitutionality of a removal limitation, it surely would have
   said so. Even the two judges who in the D.C. Circuit’s now-vacated panel decision held that the
   33
      See Mot. at 6 (citing 12 C.F.R. § 1081.405).
   34
      12 U.S.C. § 5563(b)(4).
   35
      Mot. at 6.
   36
      See Marshall J. Breger & Gary J. Edles, Established by Practice: The Theory and Operation of
   Independent Federal Agencies, 52 ADMIN. L. REV. 1111, 1236-94 (2000) (listing independent
   agencies and indicating which ones are headed by officials who are removable only for cause).
   So the features of the Bureau that Defendants finds extraordinary are, in fact, not unusual at all.
   Defendants also claim that “[w]hen the Director’s term expires, he continues on until his
   replacement arrives.” See Mot. at 6 (citing 12 U.S.C. § 5491(c)(2)). Although the Director may
   hold over beyond his five-year term, during any hold-over period, the President may remove the
   Director at will. See, e.g., Swan v. Clinton, 100 F.3d 973, 986-87 (D.C. Cir. 1996).
   37
      Mot. at 8. Defendants complain that, because the Director serves a five-year term, a President
   during a four-year term might not get to nominate a Director. Because the five FTC
   commissioners serve staggered seven-year terms, 15 U.S.C. § 41, the President is more likely to
   get to nominate a Director than he is to nominate a controlling majority of the FTC.
   38
      Humphrey’s Ex’r, 295 U.S. at 624, 626.
   39
      Id. at 626-32.
                                                     6
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 16 of 46



   Bureau was unconstitutional acknowledged that, as between the single-Director Bureau and a
   multimember commission, there was “no meaningful difference in responsiveness and
   accountability to the President.”40 If anything, the Bureau’s single-Director leadership only
   increases the President’s power to easily identify the official responsible for any problems.41
          Defendants mistakenly claim that there is “no historical precedent” for Congress to apply
   a for-cause removal provision to an agency headed by a single individual, and argue that this is
   relevant to the constitutional analysis.42 Congress has created three other independent agencies
   headed by a single individual who is removable only for cause: the Office of the Special Counsel
   (1978), the Social Security Administration (1994), and the Federal Housing Finance Agency
   (2008). And even if the Bureau were unique, “[o]ur constitutional principles of separated powers
   are not violated . . . by mere anomaly or innovation.”43
          Defendants again cite the vacated panel opinion in PHH v. CFPB to tout multi-member
   commissions as better able to make decisions that are not “extreme, idiosyncratic, or otherwise
   off the rails.”44 It may be that a multi-member commission would reach decisions more to
   Defendants’ liking, but that has nothing to do with separation of powers. The issue is whether the
   President has sufficient control over executive officials, not whether fellow commissioners have
   an impact on one another. Morrison holds that, so long as an official may be removed at least for
   cause, the President “retains ample authority to assure that the [official] is competently
   performing his or her statutory responsibilities,”45 and this remains true regardless of how
   Congress has decided, within the scope of its proper constitutional authority, to establish and
   structure the leadership of an independent administrative agency.46




   40
      PHH Corp. v. CFPB, 839 F.3d 1, 32 (D.C. Cir. 2016), vacated, reh’g en banc granted, No. 15-
   1177 (D.C. Cir. Feb. 16, 2017).
   41
      See CFPB v. Morgan Drexen, Inc., 60 F. Supp. 3d 1082, 1088 (C.D. Cal. 2014).
   42
      See Mot. at 7.
   43
      Mistretta v. United States, 488 U.S. 361, 385 (1989).
   44
      See Mot. at 8.
   45
      Morrison, 487 U.S. at 692.
   46
      Defendants cite the Office of Management and Budget’s budget proposal, which criticizes the
   Bureau, and contend that this shows the President has no power to influence the Bureau. Mot. at
   9. In fact, this report shows that the President can have an impact on the Bureau not only through
   for-cause removal, but also through his power to propose legislative changes.
                                                    7
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 17 of 46



                  3.      The Bureau’s funding is not unconstitutional.
          There was nothing unconstitutional about Congress’s decision to fund the Bureau outside
   of the annual appropriations process–the same manner in which most other financial regulatory
   agencies are funded.47 Defendants cite the Constitution’s Appropriations Clause, U.S. Const. art.
   I, § 8, cl. 1, but nothing in that clause, or anywhere else in the Constitution, requires agencies to
   be funded through annual appropriations. Thus, “Congress may . . . decide not to finance a
   federal entity with appropriations,” but rather through some other funding mechanism.48 Further,
   nothing about the Bureau’s funding makes it less accountable to Congress or restricts Congress’s
   “power of the purse,”49 because as the panel recognized in PHH v. CFPB, Congress is free to
   alter the source of the Bureau’s funding at any time.50
                  4.      None of Defendants’ arguments justifies dismissal of the Complaint.
          As explained above, there is nothing unconstitutional about either the for-cause removal
   provision in the CFPA or the Bureau’s funding. But if this Court were to disagree, dismissal
   would not be an appropriate remedy. When confronted with a constitutional flaw in a statute, a
   court should “limit the solution to the problem.”51 Dismissal of the Bureau’s Complaint does not
   do that. Instead, the appropriate remedy is to sever any provision that the Court concludes is
   unconstitutional—so long as Congress would have preferred the law with the offending
   provisions severed instead of no law at all.52 Defendants are wrong that Congress would have
   preferred no law at all. “[W]hen Congress has explicitly provided for severance by including a
   severability clause in the statute . . . [this] creates a presumption that Congress did not intend the
   validity of the statute in question to depend on the validity of the constitutionally offensive
   provision.”53 The Dodd-Frank Act includes a severability clause that applies to the CFPA.54

   47
      The CFPA authorizes the Bureau to draw from the earnings of the Federal Reserve System an
   amount not to exceed 12 percent of the expenses of the Federal Reserve System. 12 U.S.C.
   § 5497(a).
   48
      Am. Fed’n of Gov’t Emps., AFL-CIO v. FLRA, 388 F.3d 405, 409 (3d Cir. 2004).
   49
      See Mot. at 10.
   50
      PHH Corp., 839 F.3d at 36, n.16. Defendants note that, pursuant to 12 U.S.C. § 5497(a)(2)(C),
   the House and Senate Appropriations Committees may not review the amounts spent by the
   Bureau. But this provision does not restrict other committees or action by either the full House or
   the Senate.
   51
      Free Enter., 561 U.S. at 508.
   52
      Id. at 509.
   53
      Alaska Airlines, Inc. v. Brock, 480 U.S. 678, 686 (1987).
   54
      12 U.S.C. § 5302.
                                                     8
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 18 of 46



           If this Court were to sever any provision that it concludes is unconstitutional, dismissal
   would be neither necessary nor appropriate. After those provisions had been severed, the Bureau
   would be headed by a director who was removable by the President at will, and would no longer
   be funded outside the annual appropriations process. If the President and Congress believed that
   Defendants should be free to continue to engage in the sorts of practices challenged in the
   Complaint, the President could instruct the Director to dismiss the Complaint, and if the Director
   refused, remove the Director, and Congress could preclude the Bureau from spending funds to
   prosecute the case. This would provide Defendants with all the relief to which they would be
   entitled.
           B.     Defendants had fair notice that their conduct violates the CFPA and FDCPA.
                  1. Defendants had fair notice that servicing loans using inaccurate or
                     incomplete information is unfair.
           In Counts I and VIII, the Bureau alleges that Defendants engaged in unfair conduct by
   servicing loans using inaccurate and incomplete information in violation of the CFPA and Fair
   Debt Collection Practices Act (“FDCPA”).55
           Defendants do not argue that the CFPA’s prohibition on unfair acts and practices is
   unconstitutionally vague, nor could they. Courts have uniformly rejected such challenges to the
   prohibition on unfair conduct in the CFPA and the FTC Act.56 As the court in CFPB v. ITT
   Educational Services Inc. explained, the “contention that the term ‘unfair . . . act or practice’ is
   unconstitutionally vague falters in the face of a century’s worth of legislative and judicial
   guidance establishing and refining the term’s meaning.”57
           Defendants instead raise an as-applied challenge to the Bureau’s unfairness claims. But
   they do not argue that they lacked fair notice that servicing loans using inaccurate or incomplete




   55
      Compl. ¶¶ 226-30, 270-74; see also infra Section II-A.
   56
      See, e.g., CFPB v. D&D Mktg., No. 15-9692, 2016 WL 8849698, at *6 -7 (C.D. Cal. Nov. 17,
   2016) (unfair and abusive standards not void for vagueness); CFPB v. ITT Educ. Servs, Inc., 219
   F. Supp. 3d 878, 904 (S.D. Ind. 2015) (same); Illinois v. Alta Colls., Inc., No. 14-C-3786, 2014
   WL 4377579, at *4 (N.D. Ill. Sept. 4, 2014) (unfair, deceptive, and abusive standards are not
   unconstitutionally vague); FTC v. Wyndham Worldwide Corp., 799 F.3d 236, 255 (3d Cir. 2015)
   (unfairness under the FTC Act is not unconstitutionally vague).
   57
      ITT, 219 F. Supp. 3d at 904; see also D&D Mkgt., 2016 WL 8849698, at *6; Alta Colls., 2014
   WL 4377579, at *4.
                                                     9
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 19 of 46



   information is unfair.58 Rather, Defendants mischaracterize the Bureau’s claims as alleging that it
   is unfair to use a deficient system of record.59 Using this strawman, Defendants then argue that
   the Court should dismiss Counts I and VIII because: (1) there are no standards for assessing how
   accurate or complete a servicing system must be; and (2) they did not have fair notice that a
   deficient system of record could be an unfair act or practice.60 Neither argument is applicable to
   the actual allegations in the Bureau’s complaint: that servicing loans based on inaccurate and
   incomplete information is an unfair act or practice. The Court should therefore reject
   Defendants’ fair notice arguments out of hand.61
          Defendants’ fair notice arguments also fail in light of numerous publicly-accessible
   materials warning that Defendants’ conduct could be considered unfair. 62 In repeated
   enforcement actions, the FTC63 and Bureau64 have alleged that mortgage servicers and debt



   58
      Defendants have waived such arguments. See S.D. Fla. L.R. 7.1(c); Your Baby Can, LLC v.
   Planet Kids, Inc., No. 10-81266, 2011 WL 197421, at *n. 1 (S.D. Fla. Jan. 20, 2011) (citing
   Tallahassee Mem’l Reg. Med. Ctr. v. Bowen, 815 F.2d 1435, 1446, n. 16 (11th Cir. 1987).
   59
      See Mot. at 12-13 (describing unfairness claims as: “operating a less-than-perfect loan
   servicing platform[;]” “having a computer system that is not perfect[;]” “system is not
   sufficiently accurate[;]” and “system [that] is ‘unfair’ to consumers is advocacy, not a legal
   claim”).
   60
      Id. at 13-14. Defendants cite inapposite cases in support of their strawman argument. See Mot.
   at 13-15 (citing Posely v. Eckerd Corp., 433 F. Supp. 2d 1287, 1313 (S.D. Fla. 2006) (challenge
   to state wage and hour statute); Ga. Pac. Corp. v. OSHRC, 25 F.3d 999, 1005 (11th Cir. 1994)
   (challenge to term “obstructs forward view” in regulation under OSHA); Smith v. Goguen, 415
   U.S. 566, 572-73 (1974) (challenge to flag misuse statute that implicated the First Amendment)).
   61
      Defendants argue that the Bureau’s deception claims in Counts II and IX must be dismissed
   for the same reasons. Mot. at 17. For the reasons set forth in this Section, these arguments fail.
   62
      Wyndham, 799 F.3d at 257 (holding that the FTC’s prior complaints and consent decrees
   provided fair notice to defendants, in light of case law requiring only a “sufficient, publicly
   accessible statement”) (citations omitted).
   63
      See, e.g., Compl. ¶¶ 12, 16, 17, 24-36, 41-46, FTC v. EMC Mortg. Co., No. 4:08-CV-338
   (E.D. Tex. Sept. 8, 2008), available at https://www.ftc.gov/enforcement/cases-proceedings/062-
   3031/emc-mortgage-co (last visited July 20, 2017) (mortgage servicer who failed to pay
   “attention to the integrity of consumers’ loan information” and “neglected to obtain timely and
   accurate information on consumers’ loans,” allegedly engaged in unlawful collection and
   servicing practices in violation of the FTC Act and FDCPA); Compl. ¶¶ 54-55, FTC v. Asset
   Acceptance, LLC, No. 8:12-CV-182 (M.D. Fla. Jan. 30, 2012), available at
   https://www.ftc.gov/enforcement/cases-proceedings/052-3133/asset-acceptance-llc (last visited
   July 20, 2017) (alleging that debt collector violated the FTC Act because it was collecting debts
   without a reasonable basis where it knew or had reason to believe its records contained
   inaccurate information).
                                                   10
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 20 of 46



   collectors are liable under the CFPA and FDCPA for their use of inaccurate records. In addition,
   in February 2013, the Bureau issued a bulletin warning servicers of potential risks of violating
   federal consumer financial law in connection with transfers of servicing.65 The Bulletin also
   advised servicers that acquire servicing rights to ensure that they: “convey[] accurate information
   to consumers”; perform “due diligence . . . to ensure that the servicing platform[s] . . . accurately
   reflect all account-level information”; and conduct “post-transfer audits . . . to confirm that all
   data were properly transferred . . . [and] correct[] any identified errors.”66 Defendants thus cannot
   argue that they lacked fair notice for what should already have been obvious: a servicer cannot
   rely on inaccurate and incomplete information to service loans and collect debt, particularly
   where it causes harm to borrowers. The Court should reject Defendants’ astonishing and
   unsupported claims to the contrary.
                  2.      Defendants had fair notice that they must have a reasonable basis for
                          their representations to borrowers.
          In Counts II and IX, the Bureau alleges that Defendants engaged in deceptive conduct in
   violation of the CFPA and FDCPA by, among other things, making representations to borrowers
   about amounts due that were not substantiated when Defendants had reason to know that they
   were relying upon inaccurate or incomplete information.67 Defendants argue that these claims
   fail as a matter of law because there is no duty to substantiate under the CFPA, FDCPA, or any
   existing regulation prior to collecting debts or servicing loans.68 This argument is contrary to
   well-established requirements and should be rejected.


   64
      See, e.g., Consent Order ¶¶ 45-47, 78-81, 103-05, In the Matter of Encore Capital Grp., CFPB
   No. 2015-CFPB-0022 (Sept. 9, 2015) and Consent Order ¶¶ 63-66, 94-96, In the Matter of
   Portfolio Recovery Ass’n., CFPB No. 2015-CFPB-0023 (Sept. 9, 2015), both available at
   https://www.consumerfinance.gov/about-us/newsroom/cfpb-takes-action-against-the-two-
   largest-debt-buyers-for-using-deceptive-tactics-to-collect-bad-debts/ (last visited July 20, 2017)
   (same, but for debt buyers under the CFPA); Compl. ¶ 76-79, CFPB v. Green Tree Servicing,
   No. 15-2064 (D. Minn. Apr. 15, 2015), available at https://www.consumerfinance.gov/about-
   us/newsroom/cfpb-and-federal-trade-commission-take-action-against-green-tree-servicing-for-
   mistreating-borrowers-trying-to-save-their-homes/ (last visited July 20, 2017) (same, but for
   mortgage servicer under the CFPA and FTC Act).
   65
      CFPB, CFPB Bulletin 2013-01: Mortgage Servicing Transfers, at 4 (February 11, 2013),
   available at http://files.consumerfinance.gov/f/201302_cfpb_bulletin-on-servicing-transfers.pdf,
   (last visited July 20, 2017).
   66
      Id.
   67
      Compl. ¶¶ 231-34, 275-78, see also infra Section II-B.
   68
      Mot. at 28-29.
                                                     11
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 21 of 46



          The deception standard under the FTC Act requires that a person have a reasonable basis
   for their representations.69 The FTC specifically applied this requirement to mortgage servicers
   in FTC v. EMC Mortgage Corp.,70 in which the FTC alleged in its Complaint that the defendant
   “lacked a reasonable basis for its representations to borrowers, because it failed to obtain
   accurate and complete information about the consumer’s loan account before making the
   representation.”71 Like the Bureau’s Complaint, the FTC’s Complaint alleged that the defendant
   in EMC had “indications that the loan data obtained from prior servicers and loaded onto its
   servicing system was likely inaccurate or unverified, [but] nonetheless used that data to make
   representations to borrowers about their loans.”72 Since EMC, the FTC and Bureau have filed
   several enforcement actions, all of which are publicly accessible on the FTC’s or Bureau’s
   websites, affirming that servicers and debt collectors must: (1) have a reasonable basis for their
   representations to borrowers before communicating such representations to borrowers; and (2)
   cannot make representations where there is reason to know that the underlying information is
   inaccurate or incomplete.73 Further, in a July 10, 2013 Bulletin, the Bureau described potential
   debt collection acts or practices that could be considered deceptive under the CFPA, and
   specifically warned that implied representations about a consumer’s debt should be supported
   and that “[e]nsuring that claims are supported before they are made will minimize the risk of
   omitting material information and/or making false statements that could mislead consumers.”74



   69
      See FTC v. Pantron I Corp., 33 F.3d 1088, 1096 (9th Cir. 1994) (claims misleading because
   “advertiser lacked a reasonable basis for asserting that the message was true”) (citation omitted).
   70
      Compl. ¶ ¶ 33-36, 41-43, EMC Mortg. Corp., No. 4:08-CV-338 (E.D. Tex. Sep. 8, 2008),
   available at https://www.ftc.gov/enforcement/cases-proceedings/062-3031/emc-mortgage-co,
   (last visited July 20, 2017) (alleging that this conduct was deceptive under the FTC Act and
   referenced defendants’ “deceptive means to collect or attempt to collect a debt” in its FDCPA
   counts). The defendant eventually agreed to pay $28 million in redress to harmed borrowers to
   resolve allegations in the FTC’s Complaint. Stipulated Final Judgment and Order, No. 4:08-CV-
   338 (E.D. Tex. Sep. 9, 2008), available at above link.
   71
      Id.¶ 16 (emphasis added).
   72
      Id.
   73
      See supra notes 63 and 64.
   74
      CFPB, CFPB Bulletin 2013-07: Prohibition of Unfair, Deceptive, or Abusive Acts or Practices
   in the Collection of Consumer Debts, at 3 (July 10, 2013), available at:
   http://files.consumerfinance.gov/f/201307_cfpb_bulletin_unfair-deceptive-abusive-practices.pdf,
   (last visited July 20, 2017). Defendants ignore the publicly-available materials providing them
   with notice, and attempt to distract the Court by arguing that the Bureau must first engage in
                                                    12
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 22 of 46



           In sum, Defendants had ample notice that their conduct could be prohibited under the
   CFPA (Count II) and FDCPA (Count IX).75 The Court should reject its arguments to the
   contrary.
           C.      The CFPA authorizes the Bureau to bring unfairness actions.
           The CFPA authorizes the Bureau to bring unfairness actions in federal court. Subtitle E
   of the CFPA authorizes the Bureau to, among other things, commence a civil action or
   administrative proceeding against any person that violates Federal consumer financial law.76
   Section 5531(a) of subtitle C provides that “the Bureau may take any action authorized under
   subtitle E to prevent a covered person or service provider from committing or engaging in an
   unfair, deceptive, or abusive act or practice . . . .”
           Despite this clear statutory mandate, Defendants argue that the CFPA requires the Bureau
   to first “declare” an act or practice unfair through a rulemaking or administrative proceeding
   before commencing an action in federal court.77 Nothing in the text of the CFPA supports this
   argument. Section 1031(c), upon which Defendants rely, defines unfairness.78 And in decades of
   FTC actions and recent Bureau actions, no court has ever held that the FTC or Bureau is required
   to “declare” an act or practice unfair through a rulemaking or administrative adjudication before


   rulemaking before enforcing the CFPA or FDCPA. Mot. at 28. As more fully discussed infra in
   Section I-C, the Bureau is not required to engage in rulemaking prior to enforcing these statutes.
   75
      Defendants make unsupported arguments that it lacked fair notice for Counts III and IV. See
   Mot. at 33-34. For the reasons set forth in Section I-B, these arguments fail. Further, courts have
   found that allegations similar to those in Count III (foreclosing on borrowers performing on loan
   modification agreements) meet the Rule 12(b)(6) standard for state law unfairness and deception
   claims. See, e.g., Khan v. OneWest Bank, No. 16-8074, 2017 WL 1344535, at *8 (N.D. Ill. April
   12, 2017) (allowing state unfairness and deception claims where borrower alleged that Ocwen
   tricked her into making timely payments under a loan modification agreement but then treated
   her as if she was in default); Wigod v. Wells Fargo Bank, NA, 673 F.3d 547, 575-576 (7th Cir.
   2012) (allowing state unfairness and deception claims where borrower alleged that servicer failed
   to honor her trial modification agreement and provide her with a permanent modification, even
   though she made all required trial payments). As to Count IV, even Defendants’ head of Loss
   Mitigation understood that such conduct would result in “a UDAP every single time.” Compl. ¶
   199.
   76
      12 U.S.C. §§ 5564(a), 5565(a).
   77
      Mot. at 15 (citing 12 U.S.C. § 5531(c)). Defendants argue that the deception claims at Counts
   II and IX fail for the same reason. See Mot. at 17. 12 U.S.C. § 5531(c), however, only relates to
   unfairness, not deception. For this and other reasons set forth below, Defendants’ arguments
   about the deception claims in Counts II and IX also fail.
   78
      12 U.S.C. § 5531(c).
                                                       13
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 23 of 46



   commencing an enforcement action.79 In fact, they have held the opposite: the Bureau need not
   engage in rulemaking or administrative adjudication before filing suit in federal court.80
          Further, Defendants misconstrue the “declare” language in the CFPA, which was
   modeled after the FTC Act.81 Much like the FTC in Wyndham, the Bureau is not “declaring”
   conduct unfair through its lawsuit; rather, it is asking for the “ordinary judicial interpretation of a
   civil statute.”82 Thus, the operative due process question is whether the defendants has “fair
   notice that its conduct could fall within the meaning of the statute[,]” not whether they had notice
   of the Bureau’s interpretation of unfairness.83 Nonetheless, as discussed supra in Section I-B,
   Defendants had fair notice that their use of inaccurate and incomplete information to service
   mortgage loans and collect debts could fall within the meaning of and be considered unfair and
   deceptive under the CFPA and FDCPA. The Court should reject Defendants’ attempt to rewrite
   the CFPA to require a rulemaking or adjudication before bringing an enforcement action.
          D.      The 2013 Consent Judgment does not preclude any claims.
          Defendants seek immunity from federal law by arguing that the Bureau, along with 49
   states and D.C., in entering into a 2013 Consent Judgment with the Defendants (“Consent
   Judgment”), relinquished its authority to bring certain claims, and under the principles of res
   judicata and waiver, is precluded from bringing such claims.84 This argument is contrary to the
   express language of the Consent Judgment and well-established case law relating to res judicata
   and the waiver of sovereign authority.


   79
      See, e.g., D&D Mktg., 2016 WL 8849698, at * 7 (holding that the Bureau need not first engage
   in rulemaking before bringing unfairness and abusive claims); FTC v. Wyndham, 10 F. Supp. 3d
   602, 617-21 (D.N.J. 2014), aff’d 799 F.3d 236 (3d Cir. 2015) (holding that FTC did not first need
   to engage in rulemaking before bringing unfairness action in court). The decisions Defendants
   cite do not relate to the term “unfairness” or otherwise limit the Bureau’s authority to commence
   unfairness actions. See Mot. at 14-15 (citing NLRB v. Bell Aerospace Co. Div. of Textron, Inc.,
   416 U.S. 267, 295 (1974) (holding that the NRLB is not required to proceed by rulemaking, as
   opposed to adjudication, in determining whether particular buyers are “managerial employees”);
   Christopher v. SmithKline Beecham Corp., 567 U.S. 142, 158-59 (2012) (holding that agency
   cannot announce a new interpretation of a regulation in an administrative proceeding)).
   80
      D&D Mktg., 2016 WL 8849698, at * 7; Wyndham, 10 F. Supp. 3d at 617-21.
   81
      Compare 15 U.S.C. § 45(n) with 12 U.S.C. § 5531(c); see CFPB v. Gordon, 819 F.3d 1179,
   1193, n. 7 (9th Cir. 2016); D&D Mktg., 2016 WL 8849698, at * 6-7; ITT, 219 F. Supp. 3d at
   903-04; Alta Colls., Inc., 2014 WL 4377579, at *4.
   82
      Wyndham, 799 F.3d at 253-54.
   83
      Id. at 253-54.
   84
      Mot. at 17-23.
                                                     14
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 24 of 46



                  1.      The express terms of the 2013 Consent Judgment do not release
                          future claims against Defendants.
          The Consent Judgment did not release Defendants from liability for any counts in the
   Bureau’s Complaint. In interpreting a consent judgment, the Court must look to the four corners
   of the document.85 Here, there are three sections of the CFPB Release (“Release”), attached as
   Exhibit E to the Consent Judgment, that are determinative.
          First, Section B sets forth the terms of the release: “[T]he CFPB fully and finally releases
   the Released Parties from all potential liability that has been or might have been asserted by the
   CFPB relating to the mortgage servicing practices described in the complaint (the “Mortgage
   Servicing Practices”) that have taken place as of 11:59 p.m., Eastern Standard Time, on
   December 18, 2013.”86 By its express terms, the release is limited to conduct that occurred on or
   before December 18, 2013 (“Released Conduct”), not, as Defendants argue, to the conduct after
   that date that is the subject of the Bureau’s complaint. Section B’s use of “liability that has been
   or might have been asserted” confirms that the release does not cover future conduct.87
          Second, Section C sets forth the Bureau’s express reservation of rights: “Notwithstanding
   any other term of this Release, the CFPB specifically reserves and does not release any liability
   for conduct other than conduct related to the Mortgage Servicing Practices asserted or that might
   have been asserted in the complaint.”88 By the express terms, the Bureau “specifically” reserves
   its rights as to all conduct other than the Released Conduct.
          Third, Section E provides: “Nothing in this Release shall limit the CFPB’s authority with
   respect to Released Parties, except to the extent the CFPB has herein expressly released
   claims.”89 Section E thus affirms the Bureau’s continued authority, which includes the authority
   to bring an action such as this one that does not relate to the Released Conduct.
          Defendants’ silence on the actual language in Sections B, C, and E of the Release is
   deafening.90 Unable to find support in the actual language of the Release, Defendants resort to
   arguing that the relief provisions of the Consent Judgment, namely the “Servicing Standards”


   85
      See Reynolds v. Roberts, 202 F.3d 1303, 1312 (11th Cir. 2000) (“the rules we use to interpret a
   consent decree are the same ones we use to interpret a contract”).
   86
      Consent Judgment at E-3 ¶ B, CFPB v. Ocwen Fin. Corp., No. 13-cv-2025 (D.C. Cir. 2013).
   87
      Id.
   88
      Id. ¶ C.
   89
      Id. ¶ E.
   90
      Defendants have waived any arguments relating to the Release. See supra note 58.
                                                    15
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 25 of 46



   that were required as an additional layer of protection for borrowers (in addition to federal and
   state law)91 and tested by an independent monitor (“Monitor Testing”), somehow preclude the
   Bureau from bringing this action.92 But Defendants do not and cannot point to any language in
   the Consent Judgment or Release that makes the remedies available for testing failures the
   exclusive remedy for any future violations of federal consumer financial law.93 Instead,
   Defendants argue that the Bureau implicitly waived its right to bring this action by agreeing to
   the servicing standards and Monitor Testing.94 This implied waiver argument is contrary to the
   Supreme Court’s “often-repeated admonition” that contracts should be construed, if possible, to
   avoid foreclosing exercise of sovereign authority95 for “[s]uch a waiver of sovereign authority
   will not be implied, but instead must be “‘surrendered in unmistakable terms.’”96 Here, the
   express, unambiguous terms of the Release make clear that the Court should reject Defendants’
   claim that the Consent Judgment precludes the enforcement of federal law against them.
                  2.       Res judicata does not apply to the Bureau’s claims.
          Having failed to find any support for their arguments in the actual language of the
   Consent Judgment and Release, Defendants argue that the Bureau’s claims are barred under the
   doctrine of res judicata. Defendants cannot establish that the Bureau’s claims in this action could
   have been asserted in the prior action, and accordingly, res judicata does not apply.97
          The Eleventh Circuit has held that claims that could have been brought in an early
   litigation include claims that were “in existence at the time the original complaint is filed or
   claims actually asserted by supplemental pleadings or otherwise in the earlier action,” but not
   “claims which arise after the original pleading is filed in the earlier litigation.”98 As discussed
   above, the Consent Judgment was limited to claims the Bureau asserted or could have asserted


   91
      Even if the alleged conduct violates the Consent Judgment and Federal consumer financial
   laws, the Bureau has discretion as to which source of law it enforces. See infra note 150.
   92
      Mot. at 17-20.
   93
      The Consent Judgment only discusses actions to enforce the Consent Judgment and relief that
   the parties may seek in such actions. Consent Judgment at D-13 to D-15 ¶ I, CFPB v. Ocwen
   Fin. Corp., No. 13-cv-2025 (D.C. Cir. 2013).
   94
      Mot. at 22-23.
   95
      Bowen v. Public Agencies Opposed to Social Sec. Entrapment, 477 U.S. 41, 52-53 (1986).
   96
      United States v. Cherokee Nation of Okla., 480 U.S. 700, 707 (1987) (citing Bowen, 477 U.S.
   at 52); see also Merrion v. Jicarilla Apache Tribe, 455 U.S. 130, 148 (1982).
   97
      See Manning v. City of Auburn, 953 F.2d 1355, 1360 (11th Cir.1992) (citation omitted).
   98
      Id. (emphasis added).
                                                     16
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 26 of 46



   relating to servicing conduct that occurred on or before December 18, 2013.99 In this action, the
   servicing claims that Defendants claim are barred by res judicata relate to conduct that has taken
   place “since January 2014.”100 Further, some of these claims are based on regulations that were
   not even in effect until January 10, 2014.101 Thus, the Bureau’s claims in this litigation were
   not–and could not have been–in existence at the time of the Consent Judgment. Even
   Defendants do not dispute this.
          Instead, Defendants cite to factually distinguishable cases in which courts applied res
   judicata where the relief sought in a subsequent action was expressly limited by a prior consent
   order,102 or to preclude parties in trademark actions from re-litigating trademark infringement
   issues that were agreed to in a prior settlement.103 Nothing in these decisions supports
   Defendants’ unpersuasive arguments that: (1) the Consent Judgment and Release limit the
   Bureau’s ability to remedy federal law violations to the Monitor Testing; and (2) the Bureau’s
   claims in this action are the same as the claims in the Consent Judgment.104 To the contrary,
   Defendants’ case law bolsters the Bureau’s position that the express terms of the Consent
   Judgment and Release apply and are determinative.




   99
      Defendants’ unfair and deceptive conduct relating to add-on products do not relate to the
   “Mortgage Servicing Practices” subject to the Consent Order and Release. Defendants implicitly
   acknowledge this by not arguing that the Bureau’s add-on claims (Counts V and VI) are subject
   to or precluded under the Consent Judgment.
   100
       See Compl. ¶¶ 227 (Count I), 236 (Count III), 240 (Count IV), 258, 260-261 (Count VII), 271
   (Count VIII), 285, 287 (Count X), 294, and (Count XIII), 298, 303-307.
   101
       Id. at ¶¶ 258, 260-261 (Count VII – Reg. Z) and 298, 303-307 (Count XIII – Reg. X).
   102
       Gates v. Towery, 456 F. Supp. 2d 953, 963-65 (N.D. Ill. 2006) (holding that the plaintiff’s due
   process claim for injunctive relief was barred under res judicata because of prior consent
   decree’s express limitation to equitable relief; claim for damages was not barred); In re Methyl
   Tertiary Butyl (“MTBE”) Prod. Liab. Litig., No. M21-88, 2015 WL 5051660, at *2-3 (S.D.N.Y
   Aug. 26, 2015) (holding that where the plaintiff had already expressly released claims for
   continuing nuisance actions, it could not bring a continuing nuisance action relating to the same
   ongoing groundwater contamination).
   103
       World’s Finest Choc. Inc. v. World Candies, Inc., 409 F. Supp. 840, 844-45 (N.D. Ill. 1976)
   (holding that defendant was barred under res judicata from using plaintiff’s trademark where
   prior consent judgment between the parties enjoined defendant from using plaintiff’s trademark);
   Affiliated Hosp. Prods, Inc. v. Merdel Game Mfg., 513 F.2d 1183, 1185-88 (2d Cir. 1975)
   (rejecting plaintiff’s request to rescind the settlement agreement and holding plaintiff to express
   limitations on use of defendant’s trademark that plaintiff had agreed to in settlement agreement).
   104
       Mot. at 21-22.
                                                   17
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 27 of 46



           Finally, the Bureau’s express reservation in Section C of the Release forecloses the
   application of res judicata to the Bureau’s claims in this action.105 Contrary to the
   distinguishable cases Defendants rely upon, as detailed above, the Bureau has: (1) expressly
   released only those mortgage servicing claims that have taken place as of December 18, 2013;
   (2) expressly reserved all other remaining claims after December 18, 2013; and (3) expressly
   reserved the Bureau’s authority, except as to the released claims. In sum, there is no basis for this
   Court to preclude any of the Bureau’s claims under the doctrine of res judicata.
   II.     The Complaint states claims for relief.
           Rule 8 requires only a “short and plain statement of the claim showing that the pleader is
   entitled to relief[.]”106 In ruling on a motion to dismiss, the “court must accept all factual
   allegations in a complaint as true and take them in the light most favorable to the plaintiff.”107 A
   claim should only be dismissed under Rule 12(b)(6) where the facts alleged fail to allege a
   “plausible” claim for relief.108 A claim is plausible if the plaintiff alleges facts that “allow [] the
   court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”109
   This is a “liberal pleading requirement . . . that does not require a plaintiff to plead with
   particularity every element of a cause of action.”110 All that is required is that the defendant be
   on notice as to the claim being asserted against him and the grounds on which it rests.111
           As an initial matter, Defendants argue that the Court should dismiss the Complaint in its
   entirety because, they claim, the Bureau’s incorporation by reference of paragraphs 1-220 into
   each of its Counts constitutes an impermissible “shotgun” pleading.112 This argument fails
   because, as the Eleventh Circuit has explained, a complaint is only an impermissible shotgun

   105
       See, e.g., Norfolk S. Corp. v. Chevron, USA, 371 F.3d 1285, 1289 (11th Cir. 2004) (holding
   that “parties may avoid part of the res judicata effect of a consent-based dismissal simply by
   making an ‘express reservation’ of the right to sue on a particular claim in the future”).
   106
       FED. R. CIV. PROC. 8(a)(2).
   107
       Mason v. Colse, Scott & Kissane, No. 07-80103-Civ, 2008 WL 2051359, at *1 (S.D. Fla. May
   13, 2008) (citing Erickson v. Pardus, 551 U.S. 89, 94 (2007); see also CFPB v. Frederick J.
   Hanna & Assocs., 114 F. Supp. 3d 1342, 1348 (N.D. Ga. 2015) (citing Hill v. White, 321 F.3d
   1334, 1335 (11th Cir. 2003)).
   108
       Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555-556 (2007).
   109
       Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).
   110
       Kaplan v. Lappin, No. 10-80227, 2010 WL 2889219, at *1 (S.D. Fla. July 20, 2010) (citing
   Roe v. Aware Woman Ctr. for Choice, Inc., 253 F.3d 678, 683 (11th Cir. 2011)).
   111
       Mason, 2008 WL 2051359, at *1 (citations omitted).
   112
       Mot. at 23-24.
                                                      18
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 28 of 46



   pleading if it incorporates each preceding count, not each preceding paragraph.113 Further, even
   if this was an improper shotgun pleading, which it is not, the only remedy would be a more
   definite statement, pursuant to Rule 12(e), not dismissal.114 As discussed further below, the
   Bureau’s Complaint contains detailed, organized allegations in support of each claim, and is
   sufficiently definite to enable Defendants to know with what they are charged and to respond to
   the allegations. That is all that Rule 8(a) requires.
           A.      The Bureau adequately alleges that Defendants have engaged in unfair acts
                   or practices (Counts I, VIII).
           The Bureau adequately alleges that Defendants’ servicing of loans based on inaccurate
   and incomplete information constitutes an unfair act or practice under the CFPA and FDCPA.
   An unfair practice is one that: (1) “causes or is likely to cause substantial injury to consumers”;
   (2) that “is not reasonably avoidable by consumers”; and (3) “is not outweighed by
   countervailing benefits to consumers or to competition.”115
           Defendants do not dispute the adequacy of the allegations concerning the second and
   third elements of the Bureau’s unfairness claims; they only challenge the adequacy of the
   allegations that their conduct caused or is likely to cause substantial injury.116 Specifically,
   Defendants argue that the Bureau has not provided “any factual particulars to support the notion
   that [Defendants’] data systems and processes have been the cause of any consumer injury[.]”117
   Defendants also argue that the Bureau has only offered “hedged conjecture” that their conduct
   causes or is likely to cause substantial injury to consumers.118 Neither argument has merit.
           As with its fair notice challenge, Defendants attack the Bureau’s unfairness allegations by
   mischaracterizing the Bureau’s unfairness claims. The Bureau is not, as Defendants contend,
   alleging that Defendants’ deficient system of record is unfair. Rather, the Bureau alleges that
   Defendants have engaged in unfair conduct by servicing loans using inaccurate and incomplete




   113
       Weiland v. Palm Beach County Sheriff’s Office, 792 F.3d 1313, 1324 (11th Cir. 2015).
   114
       See Your Baby Can, LLC, 2011 WL 197421, at *1 (citing Anderson v. District Board of
   Trustees of Central Florida Community College, 77 F.3d 364, 366 (11th Cir. 1996)).
   115
       12 U.S.C. § 5531(c)(1); 15 U.S.C. § 1692f.
   116
       Mot. at 16-17.
   117
       Id. at 16.
   118
       Id.
                                                     19
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 29 of 46



   information, as clearly described in Count I and Count VIII, which are captioned: “Ocwen’s Use
   of Inaccurate and Incomplete Information to Service Loans is Unfair.”119
           Turning to the actual unfairness claims, the Bureau alleges, in extensive detail, that
   Defendants’ use of inaccurate and incomplete loan information caused or is likely to cause
   substantial injury to consumers. Section II-A through C, at paragraphs 35-68 of the Complaint,
   first describe the main causes of Defendants’ inaccurate and incomplete information: their
   loading of inaccurate and incomplete loan information onto their system or record; their use of a
   deficient system of record resulting in errors in borrowers’ accounts; and their reliance on
   manual data entry and insufficient control reports. Subsections II-A through C also provide
   examples of Defendant’s use of inaccurate or incomplete loan information, including loan terms
   and loss mitigation-related information, to service loans.120 In Section II-D, the Bureau then
   alleges that Defendants:
                  Serviced loans based on, and communicated to borrowers, inaccurate and
                   incomplete information, including information relating to borrowers’ loan terms,
                   amounts received from and owed by borrowers, escrow amounts, insurance
                   amounts, and/or loss mitigation and foreclosure information, as more fully set
                   forth in Section III;121 and
                  That Defendants’ use of inaccurate and incomplete information causes or is likely
                   to cause substantial harm to borrowers,122 including by collecting or attempting to
                   collect inaccurate amounts from borrowers, failing to timely pay borrowers’
                   insurance policies, providing borrowers loan modifications with inaccurate terms,
                   and initiating wrongful foreclosures.123
           In Section III, the Bureau also alleges that Defendants’ servicing failures, including their
   use of inaccurate and incomplete information to service borrowers’ loans, have caused harm to

   119
       Compl. ¶¶ 227-228 (Count I), 271-272 (Count VIII); see also Complaint, Section II,
   captioned: “OCWEN HAS SERVICED LOANS BASED ON INACCURATE AND
   INCOMPLETE BORROWER LOAN INFORMATION.”
   120
       See, e.g., id. ¶¶ 46 (alleging that the verification process revealed errors in loan terms, interest
   rates, maturity dates and other loan terms the Defendants have been using to service loans) and
   63 (alleging that errors resulted in Defendants’ sending 1,800 borrowers permanent loan
   modification agreements that contained incorrect terms such as interest rates and maturity dates).
   121
       Id. ¶ 71.
   122
       Id. ¶¶ 69-72.
   123
       Id. ¶ 71.
                                                     20
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 30 of 46



   borrowers in at least eight different ways described in each separate subsection. For example, in
   Section III-A (“Ocwen has mishandled borrowers’ payments”), the Bureau alleges that
   Defendants failed to accurately credit and apply borrower payments, and failed to correct billing
   and payment errors, all of which led to Defendants using inaccurate and incomplete information
   relating to amounts received from and owed by borrowers when servicing loans.124 The Bureau
   also alleges that Defendants’ reliance on this inaccurate and incomplete information has resulted
   in Defendants causing substantial harm to borrowers, including by imposing improper late fees,
   reporting incorrect negative credit information about borrowers, and wrongly threatening
   borrowers with foreclosure.125 The Bureau repeats this pattern of allegations in Subsections B
   (escrow), C (hazard insurance), D (purchase mortgage insurance), and H (foreclosure) in alleging
   that Defendants relied upon inaccurate and incomplete information relating to escrow amounts,
   insurance amounts, and foreclosure, which resulted in substantial harm to borrowers.
             In each unfairness Count (Counts I and VIII), the Bureau incorporates by reference the
   allegations from Paragraphs 1-220, such as those described above, and then summarizes the
   relevant allegations in each Count:
                    Paragraphs 227 (Count I) and 271 (Count VIII) summarize the allegations in
                     Section II: that Defendants serviced loans based on inaccurate and incomplete
                     information because: (i) they input inaccurate and incomplete information into its
                     system of record; (ii) their deficient system of record generated additional
                     inaccuracies; and (iii) manual processes failed to identify and correct errors;
                    Subparts (a) through (e) of paragraphs 227 (Count I) and 271 (Count VIII)
                     summarize the types of inaccuracies in the loan information, such as inaccurate
                     loan terms, escrow amounts, and foreclosure information; and
                    Paragraphs 228 (Count I) and 272 (Count VIII) describe the types of resulting
                     substantial injuries, such as misapplying borrower payments, collecting and
                     billing inaccurate amounts, and conducting unlawful foreclosure sales caused by
                     Defendants’ servicing of loans based on inaccurate and incomplete information.
             In sum, the detailed allegations in Sections II and III, and Counts I and VIII, adequately
   allege that Defendants engaged in unfair conduct in violation of the CFPA and FDCPA.

   124
         Id. ¶¶ 74, 82, 84-86, 89, 90.
   125
         Id. ¶ 92.
                                                      21
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 31 of 46



          B.      The Bureau adequately alleges that Defendants have engaged in deceptive
                  acts and practices (Counts II and IX).
                  1.      Rule 9(b) does not apply to the Bureau’s deception claims.
          Rule 9(b)’s heightened pleading standard does not apply to the Bureau’s deception
   claims. In FTC v. Sterling Precious Metals, LLC, this Court held that Rule 9(b) does not apply to
   deceptions claims brought under the FTC Act.126 The Court found the rationale from the Tenth
   Circuit in FTC v. Freecom Commc’ns, Inc., 401 F.3d 1192 (10th Cir. 2005) persuasive: “A § 5
   [deception] claim [under the FTC Act] simply is not a claim of fraud as that term is commonly
   understood or as contemplated by Rule 9(b) . . . . Unlike the elements of common law fraud, the
   FTC need not prove scienter, reliance, or injury to establish a § 5 violation.”127 The same
   rationale applies to deception claims under the CFPA, which even Defendants acknowledge
   “mirror” the standard for deception claims under the FTC Act.128
          For this same reason, the court in CFPB v. Frederick J. Hanna & Assoc., P.C. refused to
   apply Rule 9(b) to the Bureau’s deception claims under the CFPA and the FDCPA.129 The
   Hanna court first noted that deception claims under the CFPA and FDCPA are analyzed in the
   same manner as deception claims under the FTC Act.130 The court then quoted the same
   language from Freecom that this Court quoted in Sterling Precious Metals to distinguish
   deception claims under the FTC Act from common law fraud claims.131 In ruling that Rule 9(b)
   did not apply to the Bureau’s claims, the court explained that imposing a heightened pleading

   126
       FTC v. Sterling Precious Metals, LLC, No. 12-80597-CIV, 2013 WL 595713, at *3 (S.D. Fla.
   Feb. 15, 2013).
   127
       Id. (quoting FTC v. Freecom Commc’ns, Inc., 401 F.3d 1192, n. 7 (10th Cir. 2005) (internal
   quotations omitted)).
   128
       Mot. at 26; see also Gordon, 819 F.3d at 1192-93 (citing the elements for an FTC deception
   claim in Pantron I Corp., 33 F.3d at 1095, for elements of CFPA deception claim).
   129
       Hanna, 114 F. Supp. 3d at 1371-72.
   130
       Id. at 1371; see also Jeter v. Credit Bureau, Inc., 760 F.2d 1168, 1174-75 (11th Cir. 1985)
   (analogizing claims under the FDCPA to claims under the FTC Act).
   131
       Hanna, 114 F. Supp. 3d at 1371 (quoting Freecom, 401 F.3d at 1204, n. 7.); see also Prophet
   v. Myers, 645 F. Supp. 2d 614, 617 (S.D. Tex. 2008) (quoting Neild v. Wolpoff & Abramson,
   LLP, 453 F.Supp.2d 918, 923 (E.D. Va. 2006) (“[E]stablishing a violation of [the FDCPA] is a
   substantially different matter than establishing common law fraud . . . . [A] plaintiff . . . need not
   prove actual reliance on a false representation . . . [nor] establish actual damages[.]”)); cf. Order
   Denying Defendants Motion to Dismiss at 10-11, CFPB v. Howard, No. 8:17-cv-00161 (C.D.
   Cal. May 26, 2017) (refusing to apply Rule 9(b) to substantial assistance claim under the
   Telemarketing Sales Rule because it “does not sound in fraud”). A copy of Howard is attached at
   Exhibit A.
                                                    22
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 32 of 46



   standard is “not only inconsistent with some of the policy reasons for applying Rule 9(b) in the
   first place, but is also inconsistent with the remedial nature of consumer protection statutes.”132
          Defendants ignore Hanna and Freecom, and instead cite to an unpublished decision,
   Jackson v. Genesys Credit Management, to argue that Rule 9(b) applies to misleading debt
   collection communications under the FDCPA.133 The court in Jackson made no such broad
   pronouncement. The court only applied Rule 9(b) in that instance because the plaintiff expressly
   alleged that the defendant had engaged in fraud.134
          The Court should reject Defendants’ argument and reliance upon Jackson. Instead,
   consistent with this Court’s decision in Sterling Precious Metals, as well as the decisions in
   Freecom and Hanna, the Court should hold that Rule 9(b) does not apply to the Bureau’s
   deception claims under the CFPA and FDCPA.
                  2.      The Bureau adequately alleges its deception claims.
          The Bureau adequately alleges that Defendants made deceptive representations in
   violation of the CFPA and the FDCPA. Under the CFPA, an act or practice is deceptive if: (1)
   there is a representation; (2) it is likely to mislead a consumer acting reasonably under the
   circumstances; and (3) the misleading act or practice is material.135 The standard is the same
   under the FDCPA, except the second element is assessed from the perspective of the least
   sophisticated consumer.136
          Defendants argue that the Bureau’s allegations are deficient because they purportedly do
   not identify the representations at issue or provide sufficient detail that the alleged
   representations were material or likely to mislead.137 This is untrue. The Bureau’s Complaint


   132
       Hanna, 114 F. Supp. 3d at 1373.
   133
       Mot. at 26 (citing Jackson v. Genesys Credit Management, No. 06-61500-CIV, 2007 WL
   4181024, at *1-3 (S.D. Fla. Nov. 21, 2007).
   134
       Jackson, 2007 WL 4181024, at *1-3.
   135
       See CFPB Supervision and Examination Manual at UDAAP 5 (p. 178 of 924), available at
   http://files.consumerfinance.gov/f/201210_cfpb_supervision-and-examination-manual-v2.pdf
   (last visited July 20, 2017); Gordon, 819 F.3d at 1192-93, n.7.
   136
       See LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1193-1194 (11th Cir. 2010);
   Hanna, 114 F. Supp. 3d at 1368.
   137
       Mot. at 27. Defendants also argue that the allegations fail to provide sufficient detail about the
   maker, content, misleading nature, or impact of the alleged deceptive representations, and that
   the Bureau has not identified which or how many consumers received deceptive representations.
   Id. Defendants provide no legal authority, however, that requires such detail under Rule 8’s
   plausibility standard. As set forth above, the Bureau meets this standard.
                                                     23
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 33 of 46



   contains extensive allegations identifying the types of deceptive representations that Defendants
   have made, why they were misleading, and, though it is obvious, how they are material.
          Sections III-A, B, and C of the Complaint describe Defendants’ failures in the areas of
   handling borrowers’ payments, escrow, and insurance that form the basis for the deception
   claims in Counts II and IX. In each section, the Bureau includes allegations that:
                  Identify the federal consumer laws that the Bureau alleges Defendants violated,
                   including the CFPA’s and FDCPA’s prohibition on deceptive conduct;138
                  Describe the numerous ways in which Defendants have made errors in
                   borrowers’ accounts;139
                  Describe how these errors resulted in Defendants communicating inaccurate
                   information to borrowers;140 and
                  Allege that these deceptive representations were material and likely to mislead
                   borrowers acting reasonably under the circumstances.141
          Each section concludes by describing the harm to borrowers and includes representative
   examples of borrower narratives about the types of deceptive representations Defendants have
   made and the harm they have caused (i.e., why the representations are material).142 For example,
   one borrower complained that Defendants sent him an inaccurate payoff quote—which
   Defendants later admitted—that caused the borrower’s pending property sale to fall through.143
   This borrower’s experience with Defendants illustrates the obvious: deceptive representations to
   borrowers about their loan balance, delinquency status, unpaid fees, reinstatement amount,
   payoff amount, or other amounts due are material.144
          In each deception Count (Counts II and IX), the Bureau incorporates by reference the
   allegations from Paragraphs 1-220, such as those described above. The Bureau then summarizes
   the relevant allegations in the next three paragraphs in each deception Count: Paragraphs 232

   138
       See Compl. ¶¶ 80 (borrower payments), 104 (escrow), 131 (insurance).
   139
       Id. ¶¶ 81-90 (borrower payments), 105-119 (escrow), 132-139 (insurance).
   140
       Id. ¶¶ 91 (borrower payments), 120 (escrow), 140 (insurance).
   141
       Id.
   142
       Id. ¶¶ 92-99 (borrower payments), 121-128 (escrow), 141-143 (insurance).
   143
       Id. ¶ 99.
   144
       See FTC v. Transnet Wireless Corp., 506 F. Supp. 2d 1247, 1266 (S.D. Fla. 2007) (“A
   representation is material if it is of a kind usually relied upon by a reasonably prudent person.”)
   (citing cases); FTC v. AMG Services, Inc., 29 F. Supp. 3d 1338, 1351-52 (D. Nev. 2014 )
   (lenders’ deceptive representations about loan terms are material).
                                                    24
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 34 of 46



   (Count II) and 276 (Count IX) identify the specific types of representations Defendants made to
   borrowers: “that their loans have certain unpaid balances; monthly payments; delinquency
   statuses; unpaid fees; reinstatement amounts; escrow amounts due; payoff amounts due;
   insurance amounts due; and/or other amounts due.” These are the representations that are
   referenced in Sections III-A, B, and C. Paragraphs 233 and 277 then allege that these
   representations were false, misleading, or not substantiated.
          In sum, the detailed allegations in Section III, along with the allegations set forth in
   Counts II and IX, adequately allege that Defendants engaged in deceptive acts and practices in
   violation of the CFPA and FDCPA.
          C.      The Bureau adequately alleges that Defendants’ foreclosure practices violate
                  the CFPA and Regulation X (Counts III, IV, and XIII).
          The Bureau adequately alleges that Defendants engaged in unlawful foreclosure practices
   in violation of the CFPA and Regulation X in Counts III, IV, and XIII. Defendants make various
   arguments as to why these claims must be dismissed. None have merit.
          First, the Bureau has adequately pled Count III, which alleges that Defendants breached
   contracts with borrowers by foreclosing on their loans even though the borrowers were
   performing on loss mitigation agreements.145 Defendants feign confusion about what this means
   and argue that these allegations are somehow not sufficient.146 Count III clearly alleges it is
   unfair to foreclose on a borrower when he or she is performing on an agreement for loss
   mitigation, such as when Defendants have breached a loan modification contract and foreclosed
   on a borrower.147 The allegations in Section II-H of the Complaint, which are incorporated by
   reference into Count III, make this clear, and include allegations that Defendants foreclosed on
   borrowers who were making trial payments according to the terms of a loan modification
   agreement and on borrowers who should have been subject to a foreclosure hold because they
   had a loan modification or other loss mitigation agreement.148 These allegations more than meet

   145
       Compl. ¶¶ 236-37.
   146
       Mot. at 34.
   147
       Defendants claim they lack specific information as to what “loss mitigation options” mean,
   but praise themselves for modifying borrowers’ loans, Mot. at 1. Defendants also claim that the
   2013 Consent Judgment addressed the very loss mitigation options that are the subject of the
   Complaint and state of Count III: “This allegation is completely covered by Servicing Standards
   IV.B.1, IV.B.2, and IV.B.11 (no referral to foreclosure while a loan or trial modification is
   pending), and Metric 1 (testing for such errors).” Id. at 20.
   148
       Compl. ¶¶ 192, 200.
                                                    25
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 35 of 46



   Rule 8(a)’s plausibility standard. Defendants’ reliance on potential factual defense to these
   claims, such as a purported lack of borrower harm, is premature and not a basis for dismissing
   the claim.
          Second, Defendants move to dismiss Counts III and IV, which concern unfair and
   deceptive foreclosure practices under the CFPA, on the grounds that Regulation X (specifically
   Section 41) precludes such Counts. Regulation X, which is promulgated under the Real Estate
   Settlement Procedures Act (“RESPA”), does not conflict with Defendants’ obligations to comply
   with the CFPA or any other Federal consumer financial law. Defendants do not assert that any
   conflict exists or cite to any legal support or statutory exemption to support their sweeping
   assertion. In fact, case law supports the opposite conclusion: subsequent regulatory requirements
   do not preclude liability under the independent and pre-existing statutory prohibitions on unfair
   and deceptive conduct.149 Further, the Bureau has the discretion to choose which statute it
   enforces.150 Defendants’ arguments thus fail.
          Finally, the Bureau has also adequately pled Count XIII, which alleges that Defendants
   engaged in various violations of the foreclosure protections in Section 41(g) of Regulation X, 12
   C.F.R. § 1024.41(g).151 Defendants argue that the allegations in Count XIII are defective because
   the Bureau did not allege that: (1) violations occurred with respect to a borrower’s first
   completed loss mitigation application; and (2) Defendants did not receive the complete loss
   mitigation applications “when at least 37 days were left before the sale was at that point
   scheduled.”152 First, whether a loss mitigation application is duplicative and thus not subject to
   Section 41’s protections is an affirmative and factual defense only available once a servicer has
   shown that it previously complied with all of Section 41’s requirements for the first complete
   loss mitigation application for a borrower.153 Second, Section 41(g) requires—as the Bureau has
   pled—that a servicer may not foreclose on a loan “[i]f a borrower submits a complete loss


   149
       See Wyndham, 799 F.3d at 247 (finding that subsequent federal statutes did not deprive the
   FTC of the ability to bring an unfairness claim).
   150
       Cf. U.S. v. Batchelder, 442 U.S. 114, 125 (1979) (the government may choose to prosecute
   and proceed under various statutes, including after considering differing statutory penalties).
   151
       Compl. ¶¶ 297-308.
   152
       Mot. at 32-33.
   153
       12 C.F.R. § 1024.41(i). Cf. Jackson v. Seaboard Coast Line R.R. Co., 678 F. 2d 992, 1013
   (11th Cir. 1982) citing Rachback v. Cogswell, 547 F.2d 502, 505 (10th Cir. 1976) (holding
   exemption to TILA must be pled as an affirmative defense) (remaining citations omitted).
                                                    26
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 36 of 46



   mitigation application . . . more than 37 days before a foreclosure sale.” These protections apply
   even if the sale is later rescheduled (or scheduled).154 The argument that Defendants may have
   received complete applications less than 37 days before the foreclosure sale, which may have
   been later postponed, is also a factual defense. As to both arguments, the Bureau does not need to
   include allegations that negate such defenses in its Complaint.155 In support of their defenses,
   Defendants cite cases involving complete applications that servicers received before Section 41’s
   effective date (January 10, 2014), see Wentzell v. Chase156 and Trionfo v. Bank of Am., N.A157, or
   within 37 days of the foreclosure sale, see Lage v. Ocwen.158 Unlike these cases, Count XIII’s
   allegations relate to complete applications that Defendants received after January 10, 2014 and
   more than 37 days before a foreclosure sale. Here, the Bureau has adequately alleged that
   Defendants’ foreclosure practices violate Regulation X and is not required to allege facts that
   negate Defendants’ factual and affirmative defenses.
          D.      The Bureau adequately alleges that Defendants’ notice of error practices
                  violate Regulation X (Count XI).
          The Bureau adequately alleges that Defendants’ notice of error (“NOE”) practices violate
   Regulation X. Defendants argue, incorrectly, that that Bureau has failed to allege sufficient facts
   to support its NOE claim.159 Section III-G of the Complaint, which is incorporated by reference
   in Count XI, does not “parrot conclusory allegations” about Defendants’ deficient policies and


   154
       12 C.F.R. § 1024 supp. I § 41(b)(3)(2) cmt. 2 (Section 41’s protections that have been
   determined to apply to a borrower pursuant to § 1024.41(b)(3) remain in effect thereafter, even if
   a foreclosure sale is later scheduled or rescheduled.)
   155
       See La Grasta v. First Union Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004) (plaintiffs are not
   required to make allegations that negate affirmative defenses in their complaint).
   156
       Wentzell v. JPMorgan Chase Bank, Nat’l Ass’n, 627 F. App’x 314 (5th Cir. 2015) (borrower
   alleged state law violations based on a 2013 foreclosure).
   157
       Trionfo v. Bank of Am., No. JFM-15-925, 2015 WL 5165415, at *4 (D. Md. Sept. 2, 2015)
   (rejecting RESPA claims and finding borrower's March 2014 loss mitigation application was a
   duplicative request because borrowers had previously filed a loss mitigation application before
   January 10, 2014). Section 41(i), by its plain terms, permits a servicer to avoid the requirements
   of Section 41 only if it has previously received a “complete loss mitigation application” and has
   “compl[ied] with the requirements” of Section 41 with respect to that application. 12 C.F.R. §
   1024.41(i). Neither of those elements is true with respect to loss mitigation applications received
   before the January 10, 2014 effective date of the rule.
   158
       Lage v. Ocwen Loan Servicing, 839 F.3d, 1003, 1010 (11th Cir. 2016) (upholding dismissal
   after summary judgment motion, because Defendants received a complete application a day
   before the foreclosure sale, even though the sale was rescheduled for a later date).
   159
       Mot. at 35.
                                                   27
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 37 of 46



   procedures.160 Rather, in that section the Bureau alleges that deficiencies in Defendants’
   complaint and NOE policies and procedures resulted in Defendants failing to conduct reasonable
   investigations and/or, where appropriate, make corrections of errors in borrowers’ complaints
   and NOEs, and thereby violated Regulation X. After describing specific deficiencies in
   Defendants’ complaint handling and NOE policies and procedures,161 the Bureau alleges that
   these deficiencies have resulted in Defendants’ failure to conduct reasonable investigations and
   make appropriate corrections because personnel: (1) rely on inaccurate data in Defendants’
   system of record to investigate complaints and NOEs; (2) fail to consider documented systemic
   errors in complaint and NOE investigations; and (3) in responding to borrowers, for some
   complaints and NOES, simply parrot back information contained in their system of record
   without addressing the error presented by the borrower.162 Further, the Bureau presents numerous
   consumer narratives demonstrating Defendants’ failures to properly investigate consumer
   complaints and NOEs and correct errors,163 including a representative consumer narrative in
   paragraph 176 that illustrates Defendants’ NOE violations.
          The Court should also reject Defendants’ attempts—again citing no authority—to impose
   a new pleading standard requiring the Bureau to allege which specific complaints were in fact
   “written” and which otherwise meet the other technical requirements of a NOE. This is not the
   law. The Bureau does not need to identify specific NOEs in its Complaint to plead violations of
   RESPA. The Complaint alleges facts sufficient to put Defendants on notice as to the claims
   being asserted against them and the grounds for those claims.164 That is all Rule 8(a) requires.
          E.      The Bureau adequately alleges that Defendants have engaged in unfair
                  conduct related to add-on products (Count V).
          The Bureau adequately alleges that Defendants engaged in unfair conduct by enrolling
   borrowers into ancillary add-on products without their consent. Defendants argue that the Bureau
   has failed to allege sufficient facts to support this claim.165 But the Bureau plainly alleges that
   Defendants have billed and collected payments from borrowers for add-on products, even where
   the borrower did not enroll in the product. Specifically, paragraph 152 of the Complaint alleges

   160
       Id.
   161
       Compl. ¶¶ 167-72.
   162
       Id. ¶ 173.
   163
       Id. ¶¶ 97, 98, 99, 124, 125, 126, 142, 143, 162, 211, and 212.
   164
       See Mason, 2008 WL 2051359, at *1.
   165
       Mot. at 29-30.
                                                     28
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 38 of 46



   that Defendants have stated that the add-on vendor may enroll a borrower into the add-on
   product even if the borrower does not respond to the add-on vendor’s solicitation—i.e., without
   their consent. Defendants’ arguments should be rejected.166 The Bureau adequately alleges
   claims against each defendant.
          F.         The Bureau adequately alleges that each defendant is liable for each count.
          Defendants complain that the Bureau engaged in improper group pleading.167 This
   argument has no merit. The Bureau alleges that each Ocwen defendant is liable for each count.
   Specifically, after describing the functions of, and the nature of, the relationship between each
   defendant, the Complaint alleges that:
              Each defendant is a “covered person” as defined by 12 U.S.C. § 5481(6)(A); 168
              Each defendant engaged in servicing activities, including the acquisition and
               collection of mortgage debts that are in default;169
              Defendants jointly operate as a common enterprise, whereby an act of one entity
               constitutes an act by each, and Ocwen Financial Corporation (“OFC”), Ocwen
               Mortgage Servicing, Inc. (“OMS”), and Ocwen Loan Servicing, LLC (“OLS”) are
               each jointly and severally liable for the acts and practices alleged in the Complaint;170
               and
              OFC and OMS are OLS’s principals, and as such, are each liable for the acts of their
               agent, OLS.171
          Defendants claim, however, that the Complaint fails to provide sufficient notice about
   which defendant is liable for which count.172 This is not so. The Bureau alleges that Defendants,

   166
       Defendants make a cursory argument that they cannot be liable because their add-on vendor,
   and not Defendants, was responsible for enrolling borrowers into add-on products. Mot. at 30.
   The Bureau seeks to hold Defendants liable for their own role in marketing the products and
   processing payments where they knew or should have known that their vendor was not obtaining
   borrowers’ consent to enroll in the add-on products. Moreover, it is well settled that a principal
   (Defendants) can be liable for the acts of its agent (add-on vendor). See, e.g., FTC v. Stefanchik,
   559 F.3d 924, 930-31 (9th Cir. 2009).
   167
       Mot. at 24-25.
   168
       Compl. ¶¶ 19-21. The Bureau also alleges that OFC and OMS are “related persons” and
   “service providers” under the CFPA. Id.
   169
       Id. ¶¶ 13, 16, 17.
   170
       Id. ¶ 22.
   171
       Id. ¶ 23.
   172
       Mot. at 24-25.
                                                    29
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 39 of 46



   defined collectively as “Ocwen,”173 each engaged in the conduct underlying each Count
   individually and under common enterprise174 and principal-agent theories,175 allegations that
   Defendants did not challenge.176 Thus, each defendant is on notice of the claims against it.177




   173
       Compl. ¶ 13.
   174
       Defendants have not raised any defenses to this theory, but the Bureau notes that courts have
   routinely found defendants who operate as a common enterprise jointly liable for violations of
   consumer protection statutes. See, e.g., FTC v. Nat'l Urological Grp., Inc., 645 F. Supp. 2d
   1167, 1182 (N.D. Ga. 2008), aff'd, 356 F. App'x 358 (11th Cir. 2009) (applying common
   enterprise principles to the FTC Act) (citations omitted); CFPB v. NDG Fin. Corp., No. 15-cv-
   5211, 2016 WL 7188792, at *16 (S.D.N.Y. Dec. 2, 2016) (applying common enterprise
   principles to the CFPA claims) (citation omitted); FTC v. Fed. Check Processing, Ind., No. 14-
   CV-122S, 2016 WL 5940485, at *2 (W.D.N.Y. Oct. 13, 2016) (finding that defendants operated
   as a common enterprise in violating the FTC Act and the FDCPA).
   175
       The Supreme Court has made clear that “when Congress creates a tort action, it legislates
   against a legal background of ordinary tort-related vicarious liability rules and consequently
   intends its legislation to incorporate those rules” unless Congress has “expressed a contrary
   intent.” Meyer v. Holley, 537 U.S. 280, 285-87 (2003). Thus, courts have consistently found
   principals liable under consumer protection laws for the acts of their agents. See, e.g., Stefanchik,
   559 F.3d at 930-31 (“Under the FTC Act, a principal is liable for the misrepresentations of his
   agent”); FTC v. IAB Mktg. Associates, LP., 746 F.3d 1228, 1233 (11th Cir. 2009) (entity and
   individuals may be held liable under the FTC Act for the conduct of their third-party agent
   telemarketers); Pollice v. Natl. Tax Funding, L.P., 225 F.3d 379, 404 (3d Cir. 2000) (applying
   vicarious liability to the FDCPA); Muzuco v. Re$ubmitit, LLC, No. 11-62628-Civ, 2012 WL
   3242013, at *5 (S.D. Fla. Aug. 7, 2012) (same); Rouleau v. US Bank, N.A., No. 14-cv-568-JL,
   2015 WL 1757104, at *6-8 (D.N.H. Apr. 17, 2015) (applying vicarious liability to RESPA).
   176
       Defendants have waived arguments about the Bureau’s common enterprise and principal-
   agent allegations by failing to raise them. See supra note 58.
   177
       See Van Cleef & Arples Logistics, S.A. v. Festival Marketplace, No.07-61837, 2008 WL
   4753690, at *4 (S.D. Fla. Oct. 29, 2008) (Marra, J.) (where each count alleged Defendants,
   “logic dictates that when composing a responsive pleading to the Amended Complaint, each
   Defendant should assume that the allegations in the Amended Complaint are directed at each
   Defendant”); see also Sterling Precious Metals, 2013 WL 595713, at *4 (Marra, J.) (“[T]he
   allegations pertaining to the Defendants as a whole provide[s] the context that allows [the] Court
   to understand and weigh the significance of the claims specifically relating to [each
   Defendant.]”) (quoting FTC v. Innovative Mktg., 654 F. Supp. 2d 378, 388, n. 3 (D. Md. 2009)
   (internal quotations omitted)). Defendants' reliance on US Bank Nat. Ass’n v. Capparelli, No. 13-
   80323-CIV, 2014 WL 2807648, at *3 (S.D. Fla. June 20, 2014) (Marra, J.) is misplaced. Unlike
   the plaintiff’s “naked and baseless assertions” in US Bank Ass’n, the Complaint at ¶¶ 10-23
   alleges numerous facts related to Defendants’ individual and joint liability for all alleged acts and
   practices.
                                                    30
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 40 of 46



          G.      The Bureau adequately alleges that each defendant is liable for violations of
                  RESPA (Counts X-XIII) and the FDCPA (Counts VIII and IX).
          The Bureau pleads sufficient facts to support its RESPA and FDCPA claims against each
   Ocwen defendant. Defendants concede that OLS, as a servicer, is subject to RESPA, but deny
   OFC’s and OMS’s liability based on the argument that they are not servicers and cannot be liable
   “solely due to their affiliation with OLS.”178 Defendants also argue that the Complaint fails to
   distinguish among the three defendants and allege that each defendant is a debt collector in its
   FDCPA allegations. Finally, Defendants claim, without any legal support, that the Bureau must
   identify the specific accounts for which the Defendants are debt collectors under the FDCPA.179
   Each argument fails.
          First, the Complaint adequately alleges that each defendant is both a servicer subject to
   RESPA and a debt collector subject to the FDCPA. Under RESPA, a servicer is an entity
   receiving any scheduled payments from borrowers.180 A servicer who attempts to collect on
   mortgage debts owed or due on a loan that was in default at the time it was obtained is also debt
   collector under the FDCPA.181 The Complaint alleges facts sufficient to conclude that that each
   Ocwen entity is a servicer and individually liable for violations of RESPA, as each defendant,
   OFC, OMS, and OLS: “engage[s] in servicing activities” by, among other things, “processing
   borrower payments … [and] acquir[ing] and collect[ing] upon borrowers’ mortgage debts that
   are in default.”182 The Bureau also alleges that each defendant is individually liable for violations
   of the FDCPA because each defendant services mortgages that were in default at the time the
   Defendants acquired the rights to service the loans.183 Defendants’ claims to the contrary are
   simply denials of the Bureau’s allegations, and thus inappropriate for resolution on a Rule
   12(b)(6) motion.
          Second, as detailed above, the Bureau also alleges that OFC and OMS are liable for the
   RESPA and FDCPA counts under two alternative theories of joint liability—common enterprise




   178
       Mot. at 34-35.
   179
       Id. at 31.
   180
       12 C.F.R. § 1024.2(b) (definitions of “Servicer” and “Servicing”).
   181
       15 U.S.C. § 1692a(6).
   182
       Compl. ¶ 13.
   183
       Id. ¶¶ 13, 264-69, 271, 276.
                                                    31
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 41 of 46



   and principal-agent liability.184 Defendants fail to challenge these alternative theories in their
   motion to dismiss, and thus have waived the right to raise any such arguments in their reply.185
   Instead, Defendants argue that OFC and OMS cannot be liable under RESPA “solely due to their
   affiliation with OLS.”186 But that is not what the Bureau has alleged.187 As explained above, the
   Bureau alleges facts sufficient to conclude that each Defendant is liable for each and every one
   of the Complaint’s fourteen counts, including the RESPA and FDCPA Counts, both individually
   and jointly.
          Finally, Defendants assert that “[t]he Complaint never identifies any [defaulted] accounts
   or describes them in any way.”188 But Defendants offer no legal authority to again impose such a
   heightened pleading requirement. The Complaint alleges that Defendants are “debt collectors”
   under the FDCPA, including alleging that Defendants acquire the servicing rights to some
   mortgages that are in default at the time of transfer and proceed to collect on those mortgages.189
   These and the other above factual allegations are sufficient to put Defendants on notice as to the
   claims being asserted against them and the grounds for those claims.190 That is all that Rule 8(a)
   requires. Thus, the Court should reject Defendants’ arguments.
   III.   The Bureau’s claims are not time barred.
          The Bureau’s claims are not subject to dismissal as a matter of law on statute of
   limitations grounds. The statute of limitations is an affirmative defense that plaintiffs are not
   required to negate in their complaint.191 Thus, courts will only dismiss a claim under Rule
   12(b)(6) if it “is apparent from the face of the complaint that the claim is time barred.”192


   184
       See supra Section II.F.
   185
       See supra note 58.
   186
       Mot. at 34-35.
   187
       The three cases Defendants cite to are factually distinguishable because either the plaintiff did
   not allege the dismissed party was a servicer or it was clear the dismissed party was not a
   servicer. Mot. at 34-35 (citing McCarley v. KPMG Intern., 293 Fed. App'x 719, 722 (11th Cir.
   2008); Bernstein v. Wells Fargo, No.1:15-CV-2520, 2016 WL 4546653, at *4, n. 3 (N.D. Ga.
   May 13, 2016; Bennett v. Nationstar, No. 15-00165-KD-C, 2015 WL 5294321, at *11 (S.D. Ala.
   Sept. 8, 2015)).
   188
       Mot. at 31.
   189
       Compl. ¶¶ 268-69.
   190
       See Mason, 2008 WL 2051359, at *1.
   191
       La Grasta, 358 F.3d at 845.
   192
       Id. (quoting Omar v. Lindsay, 334 F.3d 1246, 1251 (11th Cir. 2003) (internal quotations
   omitted).
                                                     32
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 42 of 46



   Defendants cannot make this showing. The Court should therefore decline to rule on this issue at
   this stage of the litigation.
           First, Defendants cannot show from the face of the Complaint that Counts V, VI, VII,
   VIII, and IX are time barred. The Complaint unquestionably alleges that the conduct in these
   counts is ongoing or occurred within the limitations period. For that reason, Defendants only
   seek to dismiss those parts of these counts that it contends occurred outside the relevant
   limitations period.193 Courts have declined to dismiss claims where, as here, the Complaint
   alleges that the conduct is ongoing or occurred within the relevant limitations period.194 This
   Court should do so as well.
           Second, Defendants cannot establish that it is clear from the face of the Complaint that
   Count VI, which alleges that Defendants engaged in deceptive marketing, is time barred. As an
   initial matter, Defendants have an increased burden when asserting limitation arguments against
   the government.195 The CFPA’s three-year statute of limitations, which begins to run “after the
   date of discovery of the violation to which an action relates[,]” applies to this claim.196
   Defendants rely on the fact that the Complaint alleges that this conduct ended in 2013 to argue
   this claim is time barred.197 But the relevant question is when the Bureau discovered the
   violations alleged in the Complaint so as to start the three-year limitations period. The Bureau
   filed its Complaint on April 20, 2017 and the parties entered into tolling agreements extending
   the limitations period by approximately four months.198 Therefore, Defendants’ must
   demonstrate, based on the allegations in the Complaint itself, that the Bureau discovered


   193
       Mot. at 29-32.
   194
       See United States ex rel. Air Control Techs. Inc. v. Pre Con Indus., Inc., 720 F.3d 1174, 1178
   (9th Cir. 2013) (vacating district court’s dismissal of claims as time barred where conduct
   continued to occur within limitations period); Hanna, 114 F. Supp. 3d at 1380-81 (because some
   of the conduct was within limitations period, court refused to rule on defendant’s statute of
   limitations defense at the motion-to-dismiss stage); CFPB v. Howard, at *13 (same) (attached at
   Exhibit A). See also Persaud v. Bank of Am., N.A., No. 14-21819-CIV, 2014 WL 4260853, at
   *11 (S.D. Fla. Aug. 28, 2014) (court refused to dismiss on limitation grounds where plaintiff
   alleged defendant continued to improperly charge borrower for insurance).
   195
       BP Am. Prod. Co. v. Burton, 549 U.S. 84, 95 (2006) (“[S]tatutes of limitations are construed
   narrowly against the government.”).
   196
       12 U.S.C. § 5564(g)(1) (emphasis added).
   197
       Mot. at 29.
   198
       The parties entered into agreements tolling the statute of limitations for the period beginning
   on December 23, 2016 through April 20, 2017. Copies of the agreements are attached as Ex. A.
                                                    33
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 43 of 46



   Defendants’ violations on or before January 2014.199 Defendants cannot do so. Furthermore,
   because statute of limitations questions under the CFPA turn on factual inquiry into when the
   Bureau discovered the conduct at issue, dismissal of Count VI at this stage is inappropriate.200
           Finally, Defendants misunderstand the applicable limitations period for the Bureau’s
   FDCPA (Counts VIII and IX) and Truth-in-Lending Act (“TILA”) claims (Count VII).
   Defendants incorrectly argue that the Bureau’s FDCPA claims are subject to the one-year statute
   of limitations in Section 813 of the FDCPA, 15 U.S.C. § 1692k.201 That section of the FDCPA
   sets forth only the limitations period for private actions; it is captioned “Civil liability” and refers
   to liability “to such person” and damage “sustained by such person” or in a “class action.”202
   Bureau actions to enforce the FDCPA by contrast, are governed by Section 814, which is
   captioned “Administrative enforcement” and states that compliance “shall be enforced under . . .
   subtitle E of the [CFPA] . . . with respect to any person subject to this subchapter.”203 The section
   further provides that “[f]or the purpose of the exercise by any agency referred to [in this section]
   of its powers under any Act referred to [in this section], a violation of any requirement imposed
   under this subchapter shall be deemed to be a violation of a requirement imposed under that
   Act.”204 In other words, in a Bureau action to enforce the FDCPA, a violation of the FDCPA
   shall be “deemed” a violation of the CFPA.205 Under Section 1054(g) of the CFPA, the Bureau
   enforces an enumerated consumer financial law in accordance with that provision of the
   underlying law, here the FDCPA. Thus, any limit on the Bureau must come from the FDCPA,
   not the CFPA. But the FDCPA does not impose any limitations period on the Bureau’s
   enforcement actions. The only limitations period that applies to the Bureau is the five-year



   199
       Couzens v. Donohue, 854 F.3d 508, 516 (8th Cir. 2017) (“[T] possible statute of limitations
   defense is not grounds for Rule 12(b)(6) dismissal “unless the complaint itself establishes the
   defense”).
   200
       See Lindsey, 334 F.3d at 1251-52; Knight v. E.F. Hutton & Co., Inc., 750 F. Supp. 1109, 1112
   (M.D. Fla. 1990) (whether plaintiff should have discovered conduct more than two years before
   bringing suit is a fact question not appropriate for resolution on a motion to dismiss).
   201
       Mot. at 31-32.
   202
       15 U.S.C. § 1692k(a)(1), (2).
   203
       15 U.S.C. § 1692l(b)(6).
   204
       15 U.S.C. § 1692l(c).
   205
       Cf. FTC v. CompuCredit Corp., No. 1:08-CV-1976-BBM-RGV, 2008 WL 8762850, at *10
   (N.D. Ga. 2008) (a violation of the FDCPA is “deemed” a violation of the FTC Act, and
   therefore three-year statute of limitations under FTC Act applied to claims).
                                                     34
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 44 of 46



   limitations period 28 U.S.C. § 2462 imposes on the federal government for actions seeking civil
   fines, penalties, or forfeitures.
           Defendants also incorrectly argue that the Bureau’s claims under TILA are time-barred
   under 15 U.S.C. § 1640(e).206 The limitations period in Section 1640(e) applies “to any action
   brought under this section”—i.e., Section 1640. The authority of the Bureau and other agencies
   to enforce TILA is set out in a separate section of TILA, 15 U.S.C. § 1607(a)(6). And that
   Section does not contain any limitations period. Thus, the text of TILA makes clear that, contrary
   to Defendants’ contention, the one-year limitations period for private actions in Section 1640
   does not apply to public enforcement actions brought under Section 1607.207 Like the FDCPA,
   the Bureau’s TILA claims are only subject to the general five-year limitations period in 28
   U.S.C. § 2462.
           The Court, however, does not even need to rule on what the limitations period is for the
   Bureau’s FDCPA and TILA claims. Defendants cannot meet their burden of showing that, from
   the face of the Complaint, all of the conduct is time barred. The Court should therefore decline to
   rule on this issue at this stage of the litigation.
                                               CONCLUSION
           For the foregoing reasons, the Bureau respectfully requests that the Court deny
   Defendants’ motion to dismiss or, in the alternative, for a more definite statement.208 The Bureau
   also requests that the Court deny Defendants’ request for 45 minutes of oral argument per side.
   Defendants persist in demanding special treatment; none is warranted.




   206
       Mot. at 30.
   207
       See, e.g., Vallies v. Sky Bank, 591 F.3d 152, 156 (3d Cir. 2009) (Section 1607 pertains to
   administrative enforcement and Section 1640 pertains to private enforcement); Barber v.
   Kimbrell’s, Inc., 577 F.2d 216, 222 (4th Cir. 1978) (same); see also Office of the Comptroller of
   the Currency Interpretive Letter at *1, October 6, 1977, 1977 WL 23261 (“[A]lthough individual
   borrowers are restricted in bringing suit under Section 130 by a one-year statute of limitations
   the Comptroller is not restricted by any statute of limitations under either the Truth in Lending
   Act or 12 U.S.C. § 1818(b).”). Defendants rely on the only case to have held otherwise, ITT, 219
   F. Supp. 3d at 922-23. The Bureau respectfully maintains that the court in ITT reached the
   incorrect decision, which in any case is not binding on this Court.
   208
       If the Court believes additional information is required in the Complaint, the Bureau seeks
   leave to amend the Complaint.
                                                         35
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 45 of 46



   Dated: July 20, 2017                      Respectfully submitted,

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                                        36
Case 9:17-cv-80495-KAM Document 35 Entered on FLSD Docket 07/20/2017 Page 46 of 46



                                CERTIFICATE OF SERVICE

   I HEREBY CERTIFY that true and correct copies of this Opposition were served on July
   20, 2017, on all counsel or parties of record on the following Service List via CM/ECF.


                                                  /s/ Jean M. Healey_______
                                                  Jean M. Healey
